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IN THE CIRCUIT COURT OF GARLA_ND COUNTY, ARKANSAS -~ -'~ 'c,»

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l F l L E D
moNE nAvls, 'IvamuALLY, ANnAs , _,,. - , - -,, -
.PARENT AND NATURAL GUARn)AN or JALIssA nAvls- 1317 1515 9 "Fl ¢ 31
ELNonA oAvls, IvaIouALLY AND As PARENT ANn
NATURUAL summit or ALzERiA I)Avrs, cna
JU`MILYAH mranLL

V. CAsE_ No. 6 l/’ /7»'/‘7&¢

STATE FARM ~FIRE AND CASUALTY COMPANY DE_FENI_)AN.T

 

COMPLAINT
. M _
PETITION FOR DECL'ARATORY JUDGI\IENT
COMES NOW, Plaintiii`s, Tyrone Davis, individually and as Parent and Naturai
Guardi'an of Jalissa Davis, a minor; Elnora Davis, individually and as Parent and Natural
Guardia.n of Alzeda Davis, a minor', and Jumilyah Mitcheil, by and through-their undersigned
counsel, Cook Law Firm, P.A., and for their cause of action against Defendant, State Farm Fire
and.Casualty Company, respectfully sta.teas follows:
l. STATEMENT OF JURISDICTION
1. This complaint is brought pursuant to Rule 57 of the Arkansas Rules of Civil
Procedure, and A.C.A. § 16-13-201, and § 16-111-102, et se'q., [lg§fonn Declamtog§ Judg@` ent
A_ct_, to determine rthe rights and status of the parties, with a request the Com't-advance this matter
on the trial docket.

2. This claim is also brought pursuant to the Court’s jurisdiction over breach of

ccnuccc, such jurisdiction granted A.c.n §_ 16-`13-201.

 

Pleint`ifi`s' Orig,ina.l Cornplaim & Petition for Dcclaratory Judgment
Davl.r v. Stare Farm
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EXHIBIT A

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3. ` lPlaintii‘l`s have su_H`ered losses and damages within the minimum jurisdictional
amount of this Court-.
4. To the extent Plaintil`fs shall later amend this _Complaint to include negligence;

this claim is brought-pursuant to this Court's jurisdiction over personal injury claims predicated

_on negligence, suchjurisdiction granted by A.C.A. § 16-13-201.

5. lVe_nue is proper under A.C.A. § 16-60-112 in that the incident herein complained
of occurred in Garland County, Arkansas.

-n. PARTIEs iro THE cLAlM

6. Plaintiii`s, at all times pertinent hereto, were residents of Hot Springsg Garland,
Arkansas.

7. At the time of lthe incident described further herein1 Defendant State Farm Fire
and Casualty Company (hereinafier "State Farm”) was an insurance company authorized to issue
policies of motor-vehicle liability insurance in the State of Arkansas and its principal place of
business in the State is located in Little Rock, Arkansas and may be served with process via
registered agent at:

State Farm Fir_e and Casualty Company

via Registered Agent - Corporation Service Company
300 Spring Building, Suite 900

300 South Spring Street

Little Rock, AR 72201

8. Defendant State Farm Fire and Casualty Company, at all times relevant to this
cause of action, was represented by unknown agents, servants, and employees acting within the

course and scope of their employment, and Plaintiffs invoke the doctrine of respondeat superior.

 

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m-. sTATEMENT oF THE CAsE

9. On or about January 19, 2016 at approximately 6:00 p.m., Plaintiti` Tyrone Davis,-
a lap-and seat-belted driver operating a 2001 Ford 'l`aurus, was traveling eastbound on South
Avenue in the City of Hot Springs, Arkansas. Plaintift`s Elnora Davis, Al_zeria Davis, Jalissa
Davis, and Jumilyah Mitchell were all lap-and seat-belted passengers in Tyrone Davis’s vehicle.
At said time and place, John Giedd was operating a 2001 Chevy Pickup southbound on Fourth
Street. John Giedd’s vehicle failed to yield to Plaintiii`s’ vehicle and violently struck Plaintifi`s’
vehicle on the driver side. M a direct result of John Giedd’s carelessness and negligent conduct
in failing to yield, failing to maintain proper control, and failing to keep a proper lookout,
Plaintifi`s suffered serious injuries their persons. However, John Giedd did not have enough
liability insurance coverage on his vehicle; therefore, Plaintifi` Tyrone Davis notified his
insurance company, State Farrn.

10. As a further result of all the above, Plaintifi`s incurred expenses for medical care
and attention ‘Ihese expenses were for the necessary care and treatment of the injuries resulting
from the incident complained of herein. These charges are reasonable and were the usual and
customary charges for such services.

11. As a proximate result of the negligence and recklessness of John Giedd, who had
the minimum limits of liability insurance coverage, Plaintifi` Tyrone Davis sustained injuries
including but not limited to: trauma induced pain from his shoulders down; back pain; neck pain;
tenderness of the lumbar spine; pain upon palpation of the lower'c-spine; pain with percu`ssion over
the lmnbar spine; chest and sternum pain; his right lmee struck the dashboard; his right shoulder
struck the steering wheel; constant neck pain; pain upon movement; constant sharp headaches;

constant mid back ,pain; cramping and bruning sensations o`f the mid back; constant lower back

 

Plaintiffs’ Original Complaint & Petition for Deelaratory Judgment
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pain;- constant numbness down the right leg; difficulty walldng; restricted movements; decreased
thoracic kyphosis; severe tendemess of the occipital,¢ cervical, thoracic, and lumbar regions; there
were active trigger points in the cervical and trapezius regions; there were hypomobile joints in the
lumbar and cervical region; tenderness of the trapqu and deltoids; sharp pain upon movement of
the cervical and ltunbosacral regions; reversal of cervical lordosis; there were sublturations_at C2,
CS, L2, LS, and R SI PI; there was a break in Georges line at C5-6 and LS-Sl; there was
ligamentou_s instability in extension at CZ, C4, and in Hexion at C4 and CS; decreased lumbar
lordosis; cervical strain; thoracic strain; panniculitis.of the thoracic region; lumbar strain; lumbago
with sciatica; lumbar sprain; low back pain; and panniculitis of the thoracolumbar region.

12. As a proximate result of the negligence and recklessness of John Giedd, who had
the minimum limits of liability insurance coverage, Plaintift` Jalissa Davis suR`ered trauma
induced knee abrasion and contusion.

13. As a proximate result of the negligence and recklessness of John Giedd, who had `
the minimum limits of liability insurance co.verage, l’laintiti` Elnora Davis suffered trauma
induced neck pain; lower back pain; head trauma; radiating pain; left lower extremity pain; joint
pain; pain in her left knee and left ankle; abrasion of her left ankle; tenderness of her lower back;
muscle strain; constant neck pain; pain upon movement; constant sharp headaches; constant mid
back pain; cramping and bunting scnsations of the mid back; constant lower back pain; constant
numbness down her right leg; difficulty walking; restricted movements; decreased thoracic
kyp_hosis; severe tenderness of the occipital, cervical, thoracic, and lumbar regions; there were
active trigger points in the cervical and trapezius regions; there were hypomobile joints in the
lumbar and cervical region; tenderness of the trapezius and deltoids; sharp pain upon movement

of the cervical and lumbosacral regions; reversal of cervical lordosis; there were subluxations at

 

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C2, CS, L2, L5, and=R SI PI; there was a- break in Georges line at C5-6 and LlS-Sl; there was
ligarnentous instability in extension at C2, C4, and in flexion at C2, C4‘, and CS;-decrea_sed
lumbar lordosis; muscle spasms; cervical strain; thoracic strain; panniculitis of the thoracic
region; lumbar strain; lumbago with sciatica; lumbar sprain; low back pain;_ panniculit_is of the
thoracolurnbar region; thoracic sprain; and meralgia paresthetica-of her right lower limb.

14. As a .proximate'result of the negligence and recklessness of John Giedd, who-had
the minimum limits of liability insurance coverage, Plaint_ifl’ Alzeria Davis suffered trauma
induced coughing up blood and abrasion to her forehead.

15. As~-a proximate result of the negligence and recklessness of John Giedd, who had
the minimum limits of liability insurance coverage, Plaintiff 'Juinilyah Mitch`ell suffered traunra
induced headaches; neck pain; tenderness to palpation of the upper C- Spine`; numbnees; jaw pain;
laceration to tongue but the bleeding was controlled; head trauma due to hittingher head on the roof
of the vehicle; swelling;‘ decreased range of motion; chest/steran pain; left hip pain; pelvic pain;
left sided pain; there was left-sided tenderness of the cervical region; her shoulder hit the door;
constant neck pain; pain upon movement; constant sharp headaches; constant mid back pain;
crampmg and burning scnsnaons or arc mid bnck; constant tower back pain; difficulty walking
restricted movements; decreased thoracic kypho`sis; severe tenderness of the oceipital, cervical,
thoracic, and lumbar regions; there were active trigger points in the cervical and tr'apczius regions;
there were hypomobile joints in the lumbar and cervical region; tenderness of the trapezius and
deltoids; sharp pain upon movement of the cervical and lumbosacral regions; reversal of cervical
lordosis; there were sublrrxations at C2, CS,‘ L2, LS, and R SI PI; there was a break in Georges line
at C5-6' and L5-Sl;_there was ligamentous instability in extension at C2, C4, and`in Hexion at C2,

C4,. and CS; decreased lumbar lordosis; cervical strain; thoracic strain; panniculitis of the thoracic

 

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region lumbar strain; lumbog_o with eeiotieo; lumber sproin; row book pain; port.notnnotie

headaches; and spinal stenosis of the lumbosacral region.

16.

On or about October 10, 2016, Plaintiifs settled the third party liability claim with

John Giedd’s insurance company. The settlements were as follows:

Tyrone_novis: ss,s_oo.oo,(szlo.sa under _tnediooi bills);'

a.
b. Jalissa Davis: -32.500.00 ($117. 12 tntderntediool bills);
c. Elnora Davis: $20,500.00 ($2,570.79 under medical bills);
d; Alzeria Davis: $2,000.00 ($264.74 under medical bills);
e. Jl.tmilyah Mitchell: $16,500.00 ($l,679.52 under medical bills)
11. on or obont september 22, '2016, Piointia's" notified Defendont diet of their
underinsured motorists demands
1'8. On or about Decemher 4, 2016, Defendant extended the following offers for
Plaintiffs underinsured claims:
a. Tyrone Davis: $2,300.00;
b. Jalissa Davis: $400.00;
c. Elnora Davis: $3,200.00;
d. Al_zeria Davis: $600._00;
e. Jotnilyoh Miteiteu: 32,4`00.00
19. On or aboi.rt'November 4, 2016, PlaintiEs extended the following cotmteroffers:

3..

b.

C.

d.

Tyrone Davis: 315,000.00;
Jalissa Davis: $6,000.00;
Elnora Davis: $8,000.00;

AlzeriaDavis: $4,000.00;

 

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e.' ' Iumilyah Mitchell: $20,000.00
20. On-or about November 4, 2016, Defendant contacted Plaintifi`s and extended the
followingnew oifers:
a. Tyrone Davis: $4,200.00;`
b. Jalissa Davis: $l,OO0.00;
c. Elnora Davis: $5,000.00; t
d. Alzeria Davis: $l,OO0.00;
e. Jumilyah Mitchell: ‘$4,300.00
21. On or about November 10, 2016, Defendant informed Plaintiff that the previous
offers given on Nonetnbcr 4, 2016 were riner
22. .Plaintifi`s have made a written demand to D_ef`e_ndant State `Farm regarding their
claims for underinsured motorist benefitsl Despite Plaintifl`s' good faith efforts to resolve their
claims through negotiations Defendant State Farrn has refused settlementl
IV. DECLARATORY JUDGMENT
23. Plaintifis hereby adopt and reassert the aforementioned allegations as if iiilly set
forth word -for word. Further,- Plaintiii`s request that this Court make a determination of the
obligations of Defendant State Farrn.
24. on Jonunry 19, 2016, n vorid end enforceable policy of innnoncc existed between
policy-holder Tyrone Davis and Defendant State Farm.
25. Attached is a copy of Defend_ant State Farm’s Arkansas Personal Automobile
_lnsurance Policy. See Exhibit A.
26. Defendant State Farm’s Insurance Policy No. 2874418-D08-04, provided for the

obligation for payment of Plaintiii`s‘ underinsured bodily injury damage by stating: "We _will pay

 

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damages jbr bodily injury an insured is legally entitled to collect ji'om the owner:' or ¢i'rr'veil of an
underinsw'ed motor vehicle ” See Exhibit A~ Section III - Uninsured Motorl Ve@: - Covera,g_e_
_\L

_27. De`fen`dant’s conduct constituted an unreasonable denial of Plainti&`s’ claims for
benefits under the underinsured motorist bodily injury coverage by failing to timely honor and pay
benefits in accordance with the terms and conditions of the contract

V. BREACH OF'CONTRACI`

28. Plaintiffs hereby adopt and reassert the aforementioned allegatiors as if fully set
forth word for word.

29. At the time of the above-desch collision, policy-holder Tyrone Davis had a valid
contract of insurance with Defer`rdant State F arm

30. Ptlrsuant to Ark. R. Civ. P. 10(d), Plaintiffs attach a copy of Defendant State Fairn’s
Insurance Policy No. 2874418-D08»04. See Exbibit A. .

31._ 'Ihe valid contract of insurance policy-holder Tyrone Davis purchased and
maintained with State Farm included coverage for bodily injury and property damage incurred as a
result of an underinsured motorist

32. Policy-holder Tyrone Davis had paid all premiums due under the policy of insurance
with State Farm, and has performed all obligations under said policy of insrn'ance.

33. State Farm refuses to honor the terms of its policy of insurance with Tyrone Davis
by not paying the documented expenses and costs that arose li'om the injuries and damages
Plaintiffs sustained in the motor vehicle collision with John Giedd, an underinsured motorist

34. In refusing to honor the terms of its contract with Tyrone Davis, Defendant State

Farrn has breached the express terms of the contract

 

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35. In refusing to honor the terms of its contract with Tyrone Davis“,: Defendant State
Fann has breached the implied covenant of good faith and fair dealing

36. Plaintiifs aifrmatively plead that all conditions precedent to the initiation of this suit
for the recovery requested herein have occurred

37. Pursuant to Ark. R. Civ. P. lO(d), Plaintifi`s will supplement and attach a certified
copy of said contract for insurance with Defendant State Farm upon receipt from Defendant -in
discovery.

38; Plaintiifs claim entitlement for the following damages, all of which are due to John
Giedd’s rmderinsurance, should have been covered under Tyrone Davis’ underinsured motorist
policy issued .by. Defendant:

(a) damages for emotional distress suffered by Plaintiffs after the injury and
continuing through the present;

(b) damages for pain and suffering visited upon the Plaintiffs due to injuries;

(c). damages for future pain and suH`ering;

(d) compensatory damages for medical and other out of pocket expenses; and

(e) damages for medical expenses to be incurred in the future;

42. Plainst are entitled to statutory penalty damages of 12% of the amount of the
loss, plus anomey fees pursuant to A.C.A § 23-79-208.

43. PlaintiEs' total compensatory damages shall be proved by the evidence presented
at trial and are in excess of any minimum jurisdictional requirements of this Court; and

44. Plaintif'fs respectfully demand a trial by jury.

WHEREFORE, Plaintiifs respectfully pray that the Co'urt enter an order setting out the

rights of the parties under the contract as requested herein and that she recovers from Defendant

 

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the following: their actual damages, the additional damages available pursuant to statue or
common law, exemplary damages, statutory penalties of 12% plus anomey 'fees, pre- and post-
judgment interest \(where applicable), attorney's fees, costs, and all other just and proper relief to
which Plaintiff may be entitled, general andlor special, whether at law or in equity.

Respectfully submitted,

COOI{ LAW FIRM, P.A.

8114 Cantrell, -Suite 100

Little Rock, AR 7222'_7

Telephone: (501) 255-1500
Facsirnile: (501) 255-1116

Hamid F. cook, arNo. 99118

Whimey M. Cossio, AR'Bar No. 2014155
Artomeysfi)r Plainti_'jls

 

 

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PLEASE READ YDU_H POLIC'Y CAH_EFULLY. lF YOU HAVE AN ACCIDENT, CDNTACT YOUH. STATE FAHM AGENT
OH ONE DF OUR CLA|M OFFICES AT ONCE. lSEE "REPDHT|NG A CLAlM-lHSURED'S DUTlES" lN TH¥S PDLlCY.l

Autlicrized Representative

 

State Farm `Fire and Casualty Company, Home Offlce. B|oomington. lllinois
""_'-“'"- rare-south office - 22 stare ram nme o Munroe. mustang neon-com

 

 

 

 

YOUFl `
STATE FARM

 

POL|CY

j Ark_ansas
i Policy Fcrm 9904.6

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sTA'rE FARM FrrrE AND CASUA'LTY COMPANY
B_LooMiNGToN, rLLrNois
a sTocK coMPANY

` ' - nEFiNEDwoRDs
waiCH Ai_r_E USED_ 1N savERAL PARTS or rita Pot.rcv-

We define some words to'shortcn the policyl "I‘his
makes it easier to read and understand Del:'ii`red
words are piinted` in boldface italics. .You can pick
them out ensily`.

Bodi'ly Injwy.- -,nieans bodily injury to a person and
sickness diseasecr dcth which results nom it. ' ~
Cur- means a_ land motor vehicle with four or more

wheels,' which is designed for use mainly on public
roads li does not include

l. any vehicle while located for use as a dwell-
ing or other premises; or

. 2. a truck-tractor designed to pull a trailer or
seminailcr.
Car Bi`isiness- means a- business or job- -whcretlrc

purpose is to sell. leasc,re repair. scrvice, transport.
store or park land motor vehicles or trailers

insured means t_lré person pencils or- organization
defined as insureds in the specific coveragel lf the
information you have provided State Farm is incor-

rect or incomplete or changes during the policy_

period. State Farm may decrease or increase the pre-
miurn during the policy period as set out in the
provision titled Premium of the Conditions section
of this pcl_i_cy. -

l_.ors- dclincd' in Sccticns l'V and V.

Neivl lAhuuired Cur - means a replacement car or
tiona.l car.

-. 'Replacemeirt Car means scar p\n'chased by or
leased to you or your spouse to replace your car.
. ’I`his,'.policy-will only provide coverage for the
replacement car ifyou or your spouse:-
l. tell us about it within 30 days after its
delivery to you or your spouse; and

- 2 pay- -us any added amount due.
Addr’tl'ona.l Cur- -mcans an addedcur purchased by

orleasedro you oryourspou.re. Thispolicy will only `

providecovcragc for thcadditionul au'if

l._ rtrsapmutepausrengercurandweuu_ureall
ctherpn'vutepassengercm's; or ` `

2._ it is other than a private passenger car
and we insure all cars _

owned by or leased to you or your spouse on
the dale of irs delivery to you or your spouse.

This policy provides coverage for the additional
car only until the earlier of: "

l. 12: 01 A. M Srandard'l`irric at the address
shown on the declarations page on the
BIst day after thc delivery of the car to
you or your spouse; or

21 the effective date and time of a policy
issued by us or any other company that
describes tlrecur on.its declarations page.

You or your spouse may apply for a policy that
will provide coverage beyond the 30th day for
the additional ear. Such policy will be issued

- _ only if both thc applicant and the vehicle arc

eligible for coverage at the time of application

Il' a newly acquired car is n_cr otherwise afforded

comprehensive or collision coverage by this cr any_

other policy,‘ this policy will provide the comprehen-
sive or collision coverage nor otherwise provided for
thcnewly acquired car. If such coverage is provided
by this paragraph. it will apply only until 12:01 A.M.
Srandard Time at the address shown o`n the.declara~
tions page on the sixth day after the delivery of the
car to- you or your spouse Any comprehensive or
collision coverage provided by this paragraph is sub-
ject to a deductible of 5500.

il'on-Owned Cai' - means acur nor owned by, regis-
tered to or leased to:

l. you, your spouse;

2. any relative unless at the rir_nc of the accident
or loss:

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:';:~.'; item ‘ """ mm

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a. the car currently' is or has within the last

30 days been insured for liability cover- _

age; and

b. the driver is aninsured who dow not own

or lease the cor;
3. any other person residing in the same house-
hold as you, your spouse or any relative; or

4. an employer ofyou, your spouse or any rela-
tive. _
Non-oiiined ear does not include a:
1. rented ear while it is used in connection with
the insured ’s employment or business; or

2. car which has been operated or rented by or
in the possession of uninsured during any
- part of each ofthe last 21 of more consecutive
days. lf the insured' is an insured under one
or more other car policies issued by us. the 21
day limit is increased by an additional 21 days
for each such additional policy.
A'non'-ownedcar must be acar in the lawful posses-
sion of the person operating it.

Oceupying -rncans in, on. entering or alighting from.
Person- _i'rieaii"s a human being.-
Prr'vate Possenger Car- means a cur:

l- with four wheels;

oEcLAi_taTioNs coNTINUEi`)_ :'

We, the State Farm Fire and Casiialty Company.
agree to insure you according to the terms of this
policy based:-

_1. ~ on your payment of premium for the cover-'-"

ages you chosc; and

i." in reliance on your statements in these decla-;

rations.
Yoir agree, by acceptance of this policy tlia_t':

1. the statements in these declarations are your
statements and are true; and

2. we insure you on the basis your statements
arc true; and .

3. this policy contains all -of the agreements
between`you and us or any of our=agents.

Fi|_e_d__03/13/17_ Page 13 of 41 Page|D__ #_: _1Q9___m_____

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2. of the private passenger or station wagon
op'=':wd

n . 3 designed solely to carry persons and their

luggage

Relari've - means a person related to you or your
spouse by blood, marriage or adoption who resides
primarily with you. Ii includes your unmarried and
unemancipated child away at school.

Spouse- means your husband or wife who_ resides
primarin with you. ~

Tenr'porory Sub.rtitute Car -'- means a ea`r' not
owned by or leased to you or your spouse if it
replaces your car for a short time. lts use has to be
with the consent of the owner: Your car has to be_

out of use due to its breakdown, repair. s¢:_rvicingil

damage or loss. A temporary substitute ear is_ not
considered a non-owned ear.

Ulilily Vehr'ele - means a motor vehicle with
1. a pickup. panel or van body; and

2. a Gross Vehicle Weight of 10, 000 pounds or
less.

You-or Your -_- means the~named insured'oi'"nariicd'
insureds shown on the‘declara`tio_ns page `

Your Crir- -means the car o_r the vehicle described on
the declarations pagc_. --

Unless otherwise stated in the circeptions; space on:
the declarations page, your statements are:

1. Ownership. You are the sole owner of your
car.

2. Insurance and Liccnse History. Neither you
nor any member of your household within the
past three years has had; .

a, vehicle insurance canceled by an jnsurer;
_ or _ . . .

b. a license to drive or vehicle registration
suspended, revoked or refused'._

d. 5 Use. Yo`ur ear isliised _f__or pleasure and busi-
ncss.

 

 

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-,,¢ 25- SOH Doc 111;_3

‘. `.' .-.." ‘

When Covera_ge App_lie.s » '

'l‘he coverages you chose apply to accidents and
losses that take place during the policy period.

The' policy -pcriodis. shown under "Polic_y Period" on
the declarations page and rs for successive periods of
‘siit months each for _which you pay 'th`e" renewal
5premium_ Payments rhust be made o`n or before the
=_end of the current policy period. The p_olicy period
begins and ends at 12; 01 A. M-: Standar"d Time at the
address shown on the declarations page.

- ere're Coverage Applls_ .

'l‘he coverages you chose apply:

If a creditor rs shown' 111 the declarations, we m`ay- pay
any comprehensive or collision loss to:

lll'. you and;l if unpaid,- the repairer; or

2. you and su_ch creditor, _as its interest rnay
_appe_ar. when we find it is not practical to
repairyaurcar; or

3. the creditor. as to its interest, rf your ear has
been repossessed

When we pay the creditor for loss for winch you are
not covered we are entitled to the creditor' s right of
recovery against you to the extent of our payment
Our right of recovery shall not impair the creditor‘s
right to recover the full amount of is claim.

'I‘he coverage for the creditor's interest~only is valid
until we terminate it,_ _We- will not terminate such
coverage because ot`:

511311_03113111 _P_ge_l¢l_ofsl__ae.aata.e.tla__._

WHEN AND WHERE COVERAGE APP-LIES

l. in the United States of Arnenca, its territories
and possessions or lCanada; or.

2.- while the insured vehicle is being shipped
between their ports.

The liability. medical payments and physical damage
coverages also apply in.Mexico within 50 miles of
the United States border. A physical-damage cov-
erage loss in' Me_rtico is determined on the.basis of
cost_at the nearest Uni`ted States point.

Death. dismemberment and loss of sight and total
disability coverages apply anywhere in the
world.

_FINANCEDVEH_ICLES

l. any act or negligence of the owner or bor-
rower; or _ .

_ :2.-»-.--11 change in the` ownership -‘_or interest un-
known to us. unless the creditor knew.'ofitand
failed_t_p_ tell us within 1_0_days; or _

3. an crror_ in the description oi' the vehicle

The date of termination oi' the crediti)i-‘ s interest will
be at least:__' °

1. 10 days arm die dire we `mair `01 elmhi_c_any

transmit the temrination notice rf the termina-
tion is because of nonpayment of p'rer_nium;
- or ' - .

2. 20 days after the date we mail or'electroni-
cally transmit the termination notice if the
termination is _for any other reason.

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REPORTING A CL_AIM -. INSURED’S DU'I`IES

I.,_ Notice to Us of an Accldent or Lng.__. _

The harmed must give u's. or one of our agents
written notice of the accident _or loss as soon as
reasonably possible 'l'ne` notice must give us:

_a._ your narne: and_ _ ._
' . .b. the names and addresses of a_ll persons in-_

volved: and -

1 ` c. the hour. date. place and facts of the accident

or loss; and-
d. .- the names and addresses of witnesses

~ -Notice t_o Us of Clalni or Suit

Ifa claim or suit is made against an insured, that
insured must at once send us every demand
notice orclaim made and every summons or legal
process received

. Other Dutles Under the Physieal Damage

Coverages

v When there is a loss, you or the owner of the

property also shall:

a. _malte a prompt report to the police when the
loss' rs the result of theft or larceny.

.b. protect the damaged vehicle We will pay any

reasonable expense incurred to do so.

-c.- show 115 the damage. when we ask..
d. provide all recorE, receipts and' rnvolces or '

` ~ certified copies of them We may make cop-
ies. '

e. answer questions under oath when asked by
anyone wename,asoften as we reasonably ask.
" and sign copis of the answers '

. Other Dutles Under Medical Payments,

Uninsirred Motor Vehide, Underins'ui'ed Motor
Vehlcle, Deatb, Dlsmembarment and loss of

' _. Sr'ghtand Total D'snbility Coverage_s

Thc person making claim also shall:_

' ._a. give us all the details about the death, injury,

treatment and other information we- need to
determine the amount payable.

' b. ' b'e examined by physicians chosen and paid by

us 'as often -as we`reasonably-may require. A
copy of the report `will be~sen`t-to the person

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-a.,:-` making'settlements;

upon written request :'ll_'ie person, or his or
her legal representative if the person is dead
or unable to act, shall authorize us _to obtain 'all,
- medical repons and records ' `

' "c: answer qir`estions under oath when asked by

anyone we n`r_nne. a_s often as we reasonably ask,_
and sign copies of the a_nswe_rs'.

.`-d. under the uninsured motor vehicle and under-

insured motor ._vehicle- -co_verages:

(l) letl as see the insured car the person oc-'
_r:up_ied 111 the accident.__ .

(2) send us at once a copy of all suit papers if
the person sues the party liable for the
accident for damages

e. under the uninsured motor vehicle covuage. re-
porta"hit-'and-run run"mcident to thepolioenitldn
24hoursandtouswithin30days ..

_ _ f. under the deadt..dismernberment and loss of

. ' sight `and total disability ~coverages, give us
proof of claim on forms we furnish.

;-"Irimred ' 's Dr_ity to Cooperate Wi_th U`s`."'_? ."

The insured shall cooperate with us and, when
asked. assist usm '

b. securing and giving evidence;

c. attending. and getting witnesses _to attend
hearings and trials.

-;- 'Ihe insured shall not, encept at his or her owr
'. cost voluntarily:.

a. make any payment or assume any obligatior
` to others; or

'b. incur any expense,' other than for first aid 11

others.

 

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_sE_oTtot_~t 1 ___ Ltatt_ttrr'v ‘-_ covERAGE s

Yott h'ave this coverage if "A" appears in the _“Coverages” space on tlte declarations page

we will-1 - .- a. for loss of wages or salary up to $35 r

pe

_-. ,‘ .1 pay cs which an. ed becomes l`e_ day rf weask themsured to attend thetn'al
' . _ ,gally liable to pay because o_f: ' ' ~ cfa Fiv“ suit . -- ~

. al boduy. ulqu w others and _ _. _ _ :b. for first aid to others at the,timc of the

"accidcnt.
b. damage to or destruction of property in-
cluding loss of rts use,-
caused by accident m'Squ-ng from the ownér_ We have the right to investigate negotiate and settle
- ~' shipl maintenance or usc of your cur: and any. claim or sun

' 2. defend any suit against art insured for such emeng for the Use or other Can 7 -

. damages with~atrorrteys hired and`p`aid by us. The liability coverage extends to tlte use, by an in-
We will notde.f_end any suitafte.r we have paid sured, of a newly acquired cor. atemporary substi-
the_ applicable limit of our liability for the lure car or anon-ownedcor. - -

‘ accident which ts the basis of the lawsuit. who ls an Immd

in addition to the limits of liability, we will pay for ~ 5--’. . _ ~'
j an insured any costs listed below resulting from such when we refer to your Mr' a newly ch“'".d car °r

 

e. at our request

 

 

a after thojttt_l_grttent. andunl.i_i we pay. offer
or deposit` trt court the amount due under
this coverage; or - . .; __- »

. d . .b. before thejudgment, where owed by law

and until we ay. offer or deposit 111 court
the aint__)u`rtt tre_ under this coveragc, but
only- on that part of tlte judgment we pay

3. Prcmiums or costs of bonds:
' a._ to' secure the release _of an insured’s prop-

crry_ arraclted under a court ordcr.

.~_ -b-. rcqt_tired to appeal a decision 111 a suit for

, damages if we have not paid our limit of
_ liability that applies to the suit; and

¢.-. up to 1250 far each bait bona needed
because of an accident or related traffic
law violation.

Wc have no duty to_fu.rnish or apply for any
bonds. The amount of any bond we pay for
shall not be_more` than'our limit of liability.

4. Expenses incurred by an lnsured:

accidan a temporary substitute car, insured means:'
t - l. Court costs of any suit for damages that we _1' 'yq“;
` defend." ` 2. your spouse; -
2. Intcrest on damages owed by tlte insured duc 3. .the relatives of the first person named 111 the
to ajttdgment and accruing: declarations‘.

41 any other person while using such a car if tts
use is within the scope o_f consent of you or
your spous¢; and

5-. any other person or organization liable for the
use of such a ear by one of the above in-
_. sureds

Wlten- we refer to anon-otvned car, insured means:
l. the t' rst person named' trt the declarations
' 2.""\his or_ her spouse'.
3. their relott`ve_s; and
n 4. =any person or organization which docs not

own or hire tlte car but-` rs liable for` ns use by .

one of the above persons.

'IC`E_§§E IS NO COVERAGE FO_R. NON-`OWNED

l. IF THE DECLARATIONS STA'I’E.'I'HE
_ . “USE" OF YOUR CAR IS O'I'HER THAN
"PLEASURE AND BU_SINE.SS"; OR--

2. WHILE' .'

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a. BEING REPAIRED, SERVICED OR'-

USED BY ANY PERSON WHIL`E
THAT PERSON IS WOR.KING IN
ANY CAR BUSINESS; OR

' ' _b_.__- USEDIN-ANY OTHER. BUSINESS OR

.:- '=_OCCUPATIQN. 'I`his does not apply 10

a private passenger ear driven or occu-

pied by the Erst person named in the

" declarations, his o'r h`e'.r` spouse or their
relatives

Trailer Coverage

.'Trailets designed to bepulled by a private pcs-
senger car or a utility vehicle, except those trail-
ers in 2. a. below, arc covered while owned or-
used by_ an insureds

Farm implements and farm wagons are consid-_
ered trailers while pulled on public roads by a car
we insure for liability.

_ These. trailers are not described` 111 the declara-
' 110ns and_ no et_t_tta` premium is charged. '

2. The following 11ailers are covered only if de-
scribed on the declarations page and extra pre-
mium is paid:

a. those trailers designed to be pulled by apri~
vale passenger car 01 a utility 'vehiele:

_ '(I). if designed to carry persons; or

(2) 'wliile u'sed with a` motor vehicle whose
use is shown as "cotnmetcial" on the dec-
.'-`-larations --page (trailers used only for
pleasuic use are covered even if not de-
scribed and no extra premium paid); or

' (3) while used as premises for oft'tce. store or
display purposes; or

b any trailer not designed for use with a private
passenger ear or a utility vehicle.

.'I'HERE lS NO COVERA`GE Wl'l§N A TRAll..ER
lS USED WITH A- MOTOR VEHICLE OWNED
OR HIRED BY YOU WHICH WE DO NOT R'l-
SURE FOR LlABILI'I'Y COVERAG§

Ltmits 'ot stability

The amount of bodily injury liability coverage is
shown on _the declarations page under "Limits of
l.'.iability‘-- C_o_verage A- Bodily lnjury. Each Person
Each Accident". Undet “Each Persoo" ts the amount
of coverage for- all damages due to bodily' tnjury to

F_i|.€.Q| .0331_1_3!1_7__ E§\_q€__l_7_01°..41 PHQ_G|D #f llL___,..

one p_erson. ‘_‘Bodily-` injury to one person’.’ includes
lall injury and damages to others resulting from this

bodily injuly. Under “Eaclt Acciden`t" is the total

_ amount of coveragé, subject to the -a.tt__tount- shown

under “Each Person", for al_l damages due to l__:otlt'.l_y
injury to two or more persons in the same accident
'I`h‘e amount of property damage liability coverage is
shown on the declarations page under “l`.iinits of
Liability - Coverage A -- -Propetty`;D_amage‘, Each
Accident".

We will pay damages lot which an insured' ls legally
liable up_ to these amounts. __ -

The limits of 11ab1111y are not increased because more
than one penon_ or organization may be a_n insured

A motor vehicle and attached trailer are one vehicle
’Iherefore, the limits are not increased.

Medical expenses paid or payable under the medical
payments coverage will not be paid for again as
damages under this coverage." This does not reduce
the limits of liability of thisl coverage. ' ‘ -

When Coverage A Dod Not Apply ~

In addition to the limitations of coverage in- Who ls
an lcm'ur_ed and Trailer Covera`ge:

THERE IS NO COVERAGE_: _
.WHll.E. AN.Y VEl-IICLE. INSURED U'N-
DER 'I.'HIS SEC'HON- IS;.
a._ R.EN'I'ED OR LEA§ED TO OTHERS`.

b USED ’IO CARRY PERSONS FOR A
.CHARGE. 'I`l'lis do`es notapply to the use
on a share expense basis of

(l) apriv_ale passenger car; 0__1

,`_ (2) a utility vehicle, if all passengers are
` `_ riding _111 that area _o'f the. vehicle de-
'signed b`y` the manufacturer of the

vehicle for carrying passengers

,_.c. BElNG REPAIRED SERVICED OR
USED BY AN'Y PERSONEMPLOYED
' OR' ENGAGED l_N -AN'Y WAY IN A
CAR BUSINESS. 'I`his does not apply

fO.

(1) you or your spouse;
(2) any relative; '
(3) any resident of your- household; cr

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l.`_
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... ..._..,. ~

-.-..,_......_....._.

' '(4) any agent, employee or partner of
you, your spouse, any relative or
such rcsident.

This coverage is excess for (l3) and' (4)

above
2`. i=oRANYBoDrLYlNJvnYio;'.;-» -‘

a. ' A FELI'.OW EMPLOYEE WHIL'E-ON

THE JOB AN_D,ARISING FROM 'Tl-IE
MAIN'I'ENANCE OR USE OFA V`EHI-
CI__.E BY ANOTHER EMPLOYEE IN

' THE EMPLOYER’S BUSINESS. You ~

and your spouse are covered for such
injury to a fellow employee`. ~

b. ANY EMPLOYEE OF AN INSURED
ARlSING OUT OF HIS OR HER EM-
PLOYMENI`. Thls does not apply to a
household employee who` is not covered
or required to be covered under any work-
ers' compensation insurance.

c. ANY INSURED OR ANY MEMBER
OF AN INSU_RED’S FAMLY RESLD-
'ING IN THE INSURED’S HOUSE-
HOLD.

3. `1=011:

a._ THE UNITED STATF$ OF AMERICA
OR ANY OF ITS AGENCI.ES; OR

b. ANYPERSONWHOISANEMPLOYEE
OF THE UNITED STATES OF
AMERICA OR ANY OF I'I`S AGEN-

C[ES. IF THE PROVISIONS OF 'I'I-[E`

FEDERAL TOR_T CL.AIMS ACT AP-
PLY.

4_ FoR ANY DAMAGES To PROPERTY

OWNED BY. RENTED TO, IN THE
CHARGE OF OR TRANSPORTED BY AN

INSURED. But coverage applies to a rented: _

n. residence; or
b. private garage

damaged by acar we insure.

5. FOR ANY OBLIGATION OF AN IN-

SURED, OR H]S OR HER lNSURER, UN-
DER ANY TY.PE OF WORKERS'
COMPENSATION OR DISAB]LITY OR
SIMILAR LAW.

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s. FoR LiABiL~i'rv AssUMED B_Y THE IN-
susan uNDaR ANY coNTRAcT 011
AGREEMENT. 1

If There Is Other Llablllty Covcrage v
l. Policies I`s`sned by Us to You, Youi' Spouse, or

Aiiy Relal:ive

lf two or more vehicle liability policies issued by
us to you, your spouse, or any relative apply to
the same accident._ the total limits of liability
under all such policies shall not exceed that of the
policy with the highest limit of liability.

Ol.her Llablllty Coverage Available From
Oliier Sonres

Subject- to item l, if other vehicle liability cover-
age applies, we are liable only for our share of the
damages. Our share is`the per cent that the limit
of liability of this policy bears to the total of all
vehicle liability coverage applicable to the acci-
dent-.

. Temporary Snbslimte Car, Non-Owoed Car,

Trailer

lf a temporary substitute cor. a non-owned ear
or a trailer designed for use with a private pas-
senger car or utility vehicle:

a. has other vehicle liability coverage on it_‘, or
b. is self-insured under any motor vehicle finan-

cial responsibility law. a motor can'ier law or
any similar law

then this coverage is excess over such' insurance
or self-insurance

However, subject to items l and 2 above, this
policy shall provide primary coverage on a car:

a. operated by the insured; and

b. loaned to the insured by a legally licensed
automobile dealer;

(1) as a replacement for your car while it is
out of use due to its breakdown, repair. or
scrvicing; or

(2) for use as ademonstrator vehicle.

. Newly Acquired Cai'

THIS COVERAGE DOES NOT APPLY IF

THERE IS OTHER VEHICLE LIABILITY `

{CI'OVERAGE ON A NEWL'Y ACQUIRED
A.R.

1- _-»'.-. -.. ._.

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Motor Veblcle. Compnlsory Instirance. Law or ' . for the insured’s operation, maintenance or
Financial Respoo`slbllity haw . _- use of aear insured under this policy.
1. Out-ol'-State Coverage ` v 1 An_y coverage so extended shall bc reduced to the
' ' ` . extent other coverage applies to the. accidan In l
l.f an _i'ii._r_ur_e_¢l under the liability coverage i._s in no event shall a person collect more than once.

§ another state or Canada and, as a nonresident man . ,
§ becomes subject to its motorvehiclecompnlsory 2` F dol lammth mw "

iri.si'ii-'arice`l financial responsibility or similarlaw: Whe_n certified under any law as proof of future

~_f'm_ancial responsibility, and while required dur-

" a. ' the policy will be interpreted to give the cov- -_ing the policy period, this policy shall comply

~-e`ragc required by the law;_ and-- with such law- t_o the extent required. 'Illie insured

~' ‘ ' .agiees__ to repay us for any payment .we would not

_ b. . the coverage so given replaces any coverage have bad to make under the terms of this policy
` in this policy to the extent required by the law except for this agreement _

 

 

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.. .11..-1-_. ~. _.. ...._'., .. -....

... -..|-_

 

 

S`ECTION I]- MEDICAL PAYMEN'I_'S_` COVERAGF _C___._

You` have this coverage if'-‘_C" appears in the “Coverages" space on the declarations page

MEDICAL EJl'._l_i_‘E_NSE€_

Wc will pay reasonable medical expenses incurred,
for b'odily i‘i'ijiuy caused by accident, for services
fomislied within two years of thedateof the accident
'_I`hese expenses are for necessary mcdic_al, snrgiail,
X-ra_y. dental. ambulance, hospital,_ professional
nursing, -.funeral expenses, and _p_rpsthctic serviecs,
eyeglasses, hearing aids and remedial religious treat-
ment _by a recognized method of hca_lin_g.

'Il`t_esi_: incurred expenses must _bc`:;'_
_l. _for: ~_ _
__.a services performed or

` -b. medical supplics`, medication or drugs
...prescn`bcd.

byamedicalproviderlimnsedbythestateto
. _ provide thcspec‘ific_ medical services; and

'2. for funeral services and remedial religious
treatment by a recognized method of healing.

"We have `the right to make or ohtain- -a utilimtion
review of the medical expenses and services to
determine if they are reasonable and necessary for
the bodi?y injury sustained

Persbns for Whom Medical E!`rpenses Are Peyabl`c

We will pay medical expenses for bodi'hr injury sus-
taincd _1n a_ motor vehicle accident _by_:_

l.' a.- you;
. b. yourspousc; and
c. any relative

2. any other person while:

a. occupying your cur, a newly acquired

car or a temporary substitute car. The

__ vehicle has to be used by an insured under
the liability coverage_. ~

b. occupying a non-owned car. ’lh_e bodily
` .niiur`y has to result from the operation or
- . occupancy of the non-owned car b__y you,

-. your spouse or any relative.

c. not an occupant of a self-propelled vehi-
cle, other than a motorcycle_, if your cor.

a newly acquired car or ateinporory sub-
stitute car;

(l) strikes sucl__tperso_n'; and

(2) is used by_. an insured under the liabil-
ity coverage." `

Payinent of Medical Expenscs

We may pay the injured person or any person or
oiganiuti_on perform___ing. the scrvic`es. "

l.il_nit of Lluhi']ity

Medical Expenses_. 'I`l_ie amount of coverage for
medical expenses is shown on tli`e declarations page
un__c_l_e._r “Limi`t of Liability- -C_ovcrage' C:- .E_ach Per-
If the amount shown is $5_ .000 or _niorc, the
most we pay for funeral expenses is the lesser of:

1. $5.000;__or'

2. the amount remaining from the limit of liabil-
it_y after payment of his or her medical ex-
' penses. .

A motor vehicle and attached trailer are one vehicle
as respects limits.

I(' T_herc Are Other _l\v‘[_edicnl_ Paymc_nis Co'ver-
ages

lf other vehicle medical payments coverage issued by
us or any other' insurerl applies to you, your spouse or
any relative:.

l. the total limit of liability shall not exceed the
highest limit of liability of any one coverage;
and

2. we are liable only for our share of the ex-
penses. Our share is that per cent that the
limit of liability of this coverage bears to the
sum of all vehicle medical payments cover-
ages that apply.-

Whal ls Not Co`vered
'l'l-IERE'IS'NO COVERAGE:
l. WHILE ANON-QWNED G¢Ul lS USED:

a. BY ANY_ FERSON EMPLOYED OR
ENGAGED IN ANY_ WAY IN_ A CAR
BUSINESS; OR

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\" § l

b. IN -ANY O'I`HER BUS_I.NESS OR .IOB
This docs not apply when the first person
named_ i_n the dccl_aratio_n_s. his or her
spouse or any relative is operating or
occupying apri'vute passenger car.

2. WHILE OCCUPYING lOR 'I‘HROlUGI-l BE-
ING STRUCK B_Y ANY MO'[OR VEH]-
CLE (_)R TRJ__\ILER:

a. DESIGNED MAINlLY_ FOR. USE OFF

PUBL[C ROADS Wl'ffLE OFf'_` PUBLIC_

ROADS; OR`”

`- `b.“ LOCATED FOR USE AS 'A RESI-

DENCE OR PREMISES; OR

c. THAT RUNS ON RAILS OR'

CRAWL-ER- TREADS.

3. lFOR BODILYINJURY DUE .TO .WAR OF '

'AN`Y-K]ND.

' '4. _ FlOR MEDICAL EXPENSES_ FlOR _B_l_O_lD_ILl.ll’ " l

IN]URY:

a. SUS']_`AINED WH]LE OCCUPHNG OR
- THRlOUGI-l BElN_G STRUCK.`BY A VE-
HICLE OWNED- EllY OR ll..EASlED TO
YOU, YOUR S}’OUSE, OlR ANY Rl.E`lA-
T_IV£_.', WHICH IS NOT lNSUR.ED UN-
DlER THE LlA.BlLl'I"t' COVE__RAGE OF
'I`HlS POLICY; OR --' ~

-b; TO lTHE EXTEN'lI` WORlKERS_' COM-_
PENSATION BENEFITS ARE RE-
QUIRED TO BlE_ PAYAB_I_.E; QR"

c.. SUSTAINED BlY lANY PERSON. other

than you, your spouse or any-relating

watts occhYrNG A v_i~:_iiictsl

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._(l) :REN'Il`ED OR= f.'EA_SED 'l`O OTH-
ERS' OR

' " (2)"- USED '-I`O CARRYPEliSONS FOR. .:-
A CHARGE. This does not apply to_ _.
a private passenger eur' 'us`cd on '1'1
share expense basis. '

51' lFORAlNY PERSON
_l'a. W}llOIS:_; .
llll.(ll»l) A NMD INSlUlilll.El.Dl,l OR-ll_l

(2) RELA'I-'EDl BY lBLOtljD,l' lMAli-
R.[AGE OR ADOFI'ION ‘I`Ol _AND A
RESIDENT IN THE HOUSEHOLD
OF A NAMED INSURED.' '~

UNDER ANOTHER POLICY 'I'l-lA-T

PROVIDES'VE!HC_LE MEDICAL' PA_Y-

MENTS COVI_=.RAGE_. This does not ap-

ply to yo_i._i, your spouse or_ any relunve.

b. WHOSE CONDUlCT CON'I'RlBlU`I'ElJ
_ TO H]S OR HER BODILY_.]NJURY IN
, _ _AN`Y. OF THE _FC_)l..LO_W'l_l~lGl WA_YS:

-- (i) CAUSING BODILY INJURY TO
--H]MSELF OR HERSEi..F IN'[`EN-
'-TIONALLY; ' ‘

(2) WHILEl COMM`I'I'I`ING lFlt FEL-
ONY; lOR"l

(3l) WHIlLEl lTR.YllINlGll TO. AlllV_Cl)lIllJl.
LAWFUL SElZURE OR ARREST
BY AN OFHCER OF THE L'AW.

 

  

 

 

 

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SECTION Ill - UNINSURED MOTOR VEHICLE_ COVERAGE U,

' `UND,ERINSURED MOTOR VEHICLE-- COVERAG_E
UNINSURED_ _MOTO_R VEHICLE_ PROPERTY DAMAGE.`_

UNIN`st'iniii)' Mo'roR- valuan '~_. covER-
A_Ga U

You have this coverage if “U" appears in the “Cov-
erage`s” space on the declarations page._1

We will pay damages for bodiiy' injury an insured 1s
legally entitled to collect from the owner or driver of
an uninsured motor vehieie. The bodily` injury must
be sustained by an insured and caused by accident
arising out of the operation, maintenance or use of an
uninsured motor vehicle

Unin`sui'ed Motor Vehicle '- unde`__r coverage U
means:

. aiand _mo`tor vehicle. the ownership. mainte-
' nance or use of which' is:

_ _a_ not insured or bonded for bodily injury
liability at the time of the accident; or

b. insured or bonded for bodily injury liabil-
‘ ity `at the time 'of the accident', b`u_t_

(l) the limits of _`liability are less _than
required by the financial responsibil-
ity act of the state whereyour-.car is

, mainly garaged; or . .

(2) -tl'ie°' insuring company denies cover-'
age or is or becomes insolvent; or

2. a "l'Lit and- run" land motor vehicle whose
. owner or driver_- remains unknown and which
strikes_:

1 . a the insured; or
b the vehicle the insured is occupying

and is the proximate cause of bodily injury to
the insured

Aii uninsured motor vehicle does not' include aland
motor vehicle:

l. insui'ed under the liability coverage of this
policy;- ' .

"2._ furnished foi' the regular use of you, your

spouse or any rehtive;

"3'_,-1 _ovined or operated by a self-insurer under any
' motor vehicle financial responsibility law.a
motor carrier law or any similar law;

wAN ._
c6va1D1AGEUi

4. owned by any government or any of its politi-
cal subdivisions or agencies;.. _

5., designed for usc mainly off public roads ex-
cept while on public roads; or

6. while located for usc as premises

UNDERINSURED M'OTOR VEHICLE _ COV-
ERAGE W -

You have this coverage if "W“ appears in the "Cov-
erages" space on the declarations page.

We will pay damages for bodiiy' ulju`ry an insured is

legally entitled to collect from the owner or driver of

an underinsured motor vehicie. 'l`he bodin inqu

must be sustained by_ an insured and' caused by acci-

dent arising out of the operation, maintenance or use
ofan underinsured motor vehicie..

Underinsured Mo!or Vehicle - means a land motor
vehicle:

` 1. the ownership'. maintenance or-use of which
is insured or bonded for bodily injury-liability
at- -the time of the accident; but- -

-2_`.-` the limits of liability for bodily' injury liability
are less than the amount needed to _co_mp_en-
"saté the insured for damages '

An underinsured motor vehicle does not include a
land motor veh_i`cle:

.41.. insured under the liability coverage of this
~ policy;

‘2. furnished for the regular use of- --you', your
spouse or any relorive;

' 3.' owned by any govenunen_tora_ny of its politi-
cal subdivisions or agencies;

4. designed for use mainly off public roads e_x-
cept while on public roads; `

5. while located for use as premises; or

6. defined as an uninsured moran vehicle in
- your policy.

Whols anlosured d _ ' ' .`-
Insured- means the person or persons covered by

_uninsured' motor vehicle coverage or` underinsured

motor vehicle coverage

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This isc ;,. _ .;..“ _ ' .._“ ;T.; ,

2. his or her spouse; l
__ 3.. their rebuives; and ,
4_ any other person while occupying:

a. your cor. a temporary substitute co'r, a
newly acquired cor` or a trailer attached to
such cor.

Such vehicle -has -to be' used within the
scope of the consent of- you or your
spouse; or

b. acar not owned by or leased toyou, your
_rpouse- or any relon've, or a trailer at-
tached to such a cor. lt has to b_e driven

1 b_y the first person named 111 the declara-
tions or that person ’s spouse `_and within

._ the scope of the owner'. s consent ` "

Such other person occupying a vehicle used
- to carry persons for acharge rs notan insured.

5. any pei`son entitled to recover damages be-
cause of bodily injury to an insured under l
through 4 aboye.

UNINSURED MOTOR VEHICLE -
PROPERTY DAMAGE-- _ _COVE_R_AGE Ul

You have this`coverage if "Ul" appears in the “Cov-
erages" space on the declarations page.

We viiilI pay damages for property damage y`o`u_ are
legally entitled to collect from the owner or driver `of

'an uninsured motor vehicle`. T_he property damage

must be caused by accident ansing out_ of- tlte opera~
tion, maintenance or use=_of 111_1 uninsured motor
vehicl¢.

Property Damage_- means damage to your car or a
newly acquired cor. .

Uni'nsured Motor Vehicle_ - _under coverage Ul
means:

1 a land motor vehicle, t‘hc_ .ownership, mainte-
nance or use _o_f which' is:

a. not insured or bonded for property dam-
age liability at the time of th_c accidenl_iol'

, - _ b. insured or bonded for property damage
` liability at the time of the accide`m; but

~*.'.

,. i. mp,aisipmiii§ nasa in the d=b'imii¢is`;` ' ' ' ` "

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, (I)-_' the limit of_ liability' is less than re-
quire_d by the financial responsibility
act of the state where your_ __c_or is
mainly garaged; or ` ‘

(2) the insuring company denies cover-_
age or is or becomes insolvent_; o_r_-

_2. a “liit- and- run" land motor vehicle whbse
owner or°driver remains unknown and which
strikes your co.`r"or a`neivly acquired cor and
is the proximate catu_e of property domage.

Under Coverage Ul_, uninsured motor vehicle does
not include a land motor vehicle: - -

1. insured under _th_c liability coverage of_ this
policy;

2.__. owned _by or fnrnished for the regular.use nf_

you, your spouse or 'any relotive; _ ._ .,

. 3., _owned or operated by a self-insurer under any

motor vehicle financial responsibility law, a
motor carrier law or any similar law;

"`4_.' owned by any government or any of its politi-
' cal subdivisions or agencies;

' 5.- designed for 115e mainly off- public roads ex-
- cept while on public roads;` or

` 6. 'while located for use as premises
Cnusent to Be Bnnnd

We are not bound by`- any judgment against any
person or- organization obtained without our written
consent1 .

Teutative Agreei_nent to Settle-. Coverage W

If the insured reaches a tentative agreement to
settle with the owner or operator of an underin-
sured motor vehicle for the liability limits avail-
able to such owner or operator. the insured may
send written notice of such agreement to us. 'l`l'ii.l
notice must be sent by certified mail~; return receipt
requested, and include: .

l. written documentation of the dollar arnou_n
of tlte loss incurred: . .

. _ 2._ copies of ali medical .bilis;_

3. written authorization or a court order allow-
__ing us to obtain medical reports from a_ll em
players and mcdical_` providers; and._

4__ written confirmation from the liable party'.
liability insurer of the liability limits and thi

 

 

  
 
   
 
 
 
   
  
 
 
  
 
    
   
    
  
 
 

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for the

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due:

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2.

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,.,.--»l
4-»3_‘

1.__

.';tenns o'f the tentative settlement. THE '_I`EN-

TATIVE SE'I'I'LEMENT CANNOT IN-

_ _ _ ,.CLI_JDE__ANY AMOUNT R_EPR.ESEN’I_'ING
._ _`.,'j.'_PUNITIVE ORI_EXEMPLAR_.Y DAMAGES.

Il"` we pa'y the insured the amount of the tentative
settlement within 30 days of 11a receipt we are sub_-
rogated to the- eatent of any payments made under
underinsured motor vehicle coverage.

lf we fail to pay the the insin’ed _the amount of the
tentative settlement agreement within 30 days of its

w`e waive our subrogation rights and

the insured may settle with- the owner or

._ operator of an- underinsiu'ed motor vehicle
without losing the right to make an underin-

sured motor vehicle coverage claim against

.u$_',

'I_`his' provision ('I' entatl ve Ag`reemerit to Se_ttle - Cov-
er_age _W) is. waived if w'e provide both:

liability coverage forthe owner or operator of
the underinsured motor vehicle, and

underinsured motor vehicle coverage for the
insured .

Eitcept as provided above, the insured shall not settle
with any_ perso_n o_r organization who ma'y` be liable

bodiiy' injii_ry without our written consent if

the settlement impairs our right to recover o`_ur pay-

-e

Payiiientd[Any Amdunt Due . d .

Under coverages U and W we will pay any amount

to the i'.nsiired;

to a parent or guardian if the insured is a

"~‘mino‘roi" an incompetent person
3. 'to th'e surviving spouse; or

' 4 at our option, to a person authorized by law"

to receive such payment

Under coverage lll, we wi_Il pay'any'_`a_moi.tnt iiu_e:

toyoii' or .. '-.- .' --

at ou_r optidn. to a person authorized by law

_ _to receive such payment-'

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Limits of Li.abill_ty l-
Co_vera_ge U 1

1.

The amount of coverage is shown ol`1 the declaia-'
lions page_ under “l..imits of Liabillty -U_- _Each
Person, Each Accident_". Under "Each Person"' ls
the amount of coverage for all damages due t`o`
bodily' injury to one person “Bod¢`!y' lnjuiy to
one person” includes all' injury and damages to
others resulting from this bodi!y' injuiy, Under
“Each Aeeidcnt" is the total amount of coverage,

subject tci the _amount shown under "Each Per-
son” ,for all damages due to bodily inju_ly to two

`or more persons in the same acciden_t:_.___' __

Any amount payable under this:cover`age"shall be
reduced by any amount paid_-_ or payable to or for
the insured by or for anyperson or organization
who' is or may be held legally liable for the bodily

; injury to the insured

Any amount payable under the liability coverage
will not be paid for again as damages under this
coverage Th_is does not reducel the limits of
liability of this coverage.

Medical expenses .paid or payable under the

, medical payments coverage will not'be paid'for

again as damages under this coverage This does

' not reduce_the limits of liability of this_ coverage

'111¢ limits of.liabtliiy are noi'in¢n=asid_ disease
a. more titan one vehicle is insured under this
po_-licy'. or _ .

b. morethan one person is insured at the time of
the accident

Coverage W

11_:

The amount of coverage is shown on the declara-
tions page under "Limits of Llablllty --W- Each
Person, finch Accident". Under-' ‘Each Person"is
the amount of coverage for all damages due to
bodily' utji_uy to one person ` “Bodily' injury to
one person' 'includes all" injury and_ damages to
others resulting from this bodily' uiju.ry. Under
“E.ach Accident"' is the total amount of coverage,
subject to the amount shown_ under .“F.ach Eer-

',for all damages due to bodily‘ injury to two
or mole persons in the same accident ‘

.-_. Medical expenses paid. or payable under the

medical payments coverage will not be paid for

‘_agai_n as damages under this coverage; This does
- not reduce the limits of liability of this coverage

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_b_. . _ . . . ...- ..., .. ... ,..- farm

 

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3. 'rlie limits br liability are nor harassed because:"

a. more than one vehicle ls insured under this
. policy;

b. more than oneperson is insured al the time of

- the accident'. or

c. . more than one underinsured moldr vehicle is

._involved` ln the same accident'._

4 'l`l'le most we pay is -the lesser of:'

a the difference between the' amount oi`. the
insured’ .r damages for bodily' injury a_nd_ the
amount paid to the insured by_ _or for any
person or organization who ls or may be held
legally liable for the bodily' injury; or -

b .thc limit of liability of lthis cover_age._

Covernge Ul

l.

The amount of coverage is shown on the declara-
tions page under "Limit of Liability- -Ul- -_-Prop
city Damage, Each Accident'-'~. This is the
amount of coverage for all property damage as
the result of one accident.

Any amount payable under this coverage for
property damage shall be reduced by any amount
paid cr payable to or for you

'a. by or for any person or organization who' ls

' or may be held legally liable for such properly
. ‘daniage;- _.

b. under any policy providing property insur-
ance or physical damage coverage __including
` the collision coverage undet'this"pdlicyf

'1'11= limit or liability is nor increased became _. _.

a. _more_ than one vehicle' 1_s_ insured under this

iioli¢y`- ‘

-b. more than one person is insured at the time of

the _accident; or

'.'c._': "more than one uninsured motor vehicle is

involved in the accident.

When Coveragi=s U and W Do Not‘Apply
THERE IS NO COVERAGE:

l. FOR BODILYINJURY TO AN lNSURED:

a. WHILE'OCCUPY!NG 'A MOTOR VE-

' _ -HICLE OWNED BY"OR"LEASEDTO
YOU, YOUR SPOUSE' ORANY RE[A-
TlVE 'IF' lT I_S NOT INSUR.ED- FOR

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THIS COVER.AGE' _UNDER Tl'IlS POL-`
‘ ICY; OR `

b,-l T-HROUGH BElNG_ STRlJCK BY A
MO_TOR VEHICLE OWNED BY OR
LEASEDTO YOU, YOl.lR SPOUSE OR
AN_Y RELAT!VE. -

2. TO'I'HEEXTENI`ITBENEFITS

a_. A_NY WORK.ERS' COMP_EN_SATION
l OR DISABILI'IY _BENEHTS INS_UR
-‘ A'NCE COMPAN'{.

'b." A_sa_l.l=-rNsURl-:a UNDER ANY
.- _,.w_oaitaiis’ compensation
oisAali.rrY BENaFlTs o__l_t silvln.AR
l.-_Aw. .'

clinic ooanNMaN-'ml. ao`l)v ca
AGENCY._

3 UN'DER COVERAGE U. FOR ANY
lNSURED WHO. WI'I`HOU"I` OUR_ W_Rl"_l`t-
TEN CONSENT_ SE'[TLES WITl'l ANY
PERSON OR ORGANIZATION' WH_O

- -I;AUAY BE LlABLE F_OR THE BOD.ILY IN-

RY.

Wheo Coverage Ul DoB Not Apply-
THER.E IS NO COVERAGE:_

l. _l.F SE'I'I`LEMENT lS MADE ,WITH ANY_

PERSON OR ORGANIZATION WHO

- _MAY BE LlABLE FOR THE l’RO_PERTY

:DAMAGE WITHO_UT O_UR WRI'I'I`EN
CONSENT.

2. ron THE F_tlisr szoo 01= Pl_ioPElirr
DAMA_GE RESULTlivG l=aoM ona lic-
clo_EN'r.. .. _

This does not apply if

_a .- your ear or a newly acquired car is in-
_ j :slir‘ed for collision coverage with us; and
b. the operator of the~unin.rured-lnotor ve-
hicle involved in the accith has been
positively identified and is solely ai fault

Il' Ther_e _ls Other Uninsured Motor Vehicle
Covcrage

l. If_uniusured motor vehicle coverage for bodily

injury is available`io an insured from more than
one policy provided by us or any other insurer,
the total limit of liability available from all poli-

` '-cies piovided by all insurers shallfliot exceed the

limit of liability of the single policy providing the

 
 
  
 
 
 
 
 
  
 
  
  
 
  
 
 
 
   

 

 

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highest limit of liability.--'l`h_is is the most that will
be paid regardless of theinurnber of_ policies in-
vol_ved persons covered, claims made vehile
insurcd, premiums paid or vehicles involvcd' 111
.th`eaccidcnt. ;..‘_ =-1

2. Subject to item l above, any coverage applicable
under _this policy shall .:apply

a_ on a_ primary basis if the insured sustaiirs `

` bodily injury while occupying your car, or

traile_r_; _" '

_;'->- '-v'.-Ir_iih_-; nbi occupying a` motor vehicle _or_"

'_= on_ _an excess basis if the. insured sirstains-,

bgdily injury while occupying,a a\vehic[e. not_-.

`own'ed by or leased to you, your spouse, or
any relorr've. However, this coverage applies
as primary coverage ii the insured sustains
bodily injury while occupying a vehicle

- loaned to the first person named rn the decla-
rations, his or her spouse or their relative by
a legally licensed automobile dealer:

(l) as a replacement for your car while it is
out of use due to its breakdown. repair or
servicing; or

(2) for use as a demonstrator vehicle`.'

3. Subject to items 'l and 2 above, if this policy and
one or more other policies provide coverage for
bodily rnjury:

a. on a primary.basis, we are liable only for our
share. Our share is_that percent of t_he dam-
ages payable on a primary basis that the limit
of liability of this'policy _bears`to the total of
all applicable uninsured motor vehicle cover-
age provided on a primary basis.

'I`he total damages payable-from all policies
that apply on a primary basis shall riot exceed
the limit of liability of the single policy pro-
viding the highest limit of~liability on a pri-
mary basis.

h. on an excess basis, we aie liable only for our

share. Our share is that percent of the dam-

- ages payable on an excess basis that the limit

of liability of this policy bears to the total of

all applicable uninsured motor vehicle cover-
age provided on an excess basis.

'l`hc total damages payable from all policies
that apply on an exams basis shall\not exceed
the amount by which the limit of liability of

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-- '=1he single _policy- providing the highest limit
_ of liability on an excess basis exceeds die
- limit of liability of the single policy providing
_the highest limit of liability on a primary
hasis.

ll There ls Otl:ter Underinsrired Moto__r Veh_ic_le
Cover_age z

l'. 11` underinsut'.d motor vehicle coverage for bod-
ily injury_ is available t'o 1111 insured from_ more
than or_t_e° policy provided by_ us' or" any' other
insurer.' the total limit of liability available from
_all policies provided by all insurers shall not
exceed the_ lirl_tit_ o_f liability of `the single policy

` providing the highest limit `of liability. 'l`l'lis rs the
most that will be paid regardless of the number
of polici$ involved. persons _,covercd claims
made, vehicles insured,` premiums paid or vehi-
cles involved' 111 the accid__ent.

2. Subject to item l above, any coverage applicable

under this policy shall apply:

.a__ on a primary basis if the insured sustains
bodily' injury while occupying your car, or
while not occupying a motor vehicle or
u‘ailcr. - .

b. on an excess basis if the insured sustains

bodily'irrjroy while.occupyr`ng a’ vehicle not '

owned by or leased to you, your spouse, or
any relo!r've. However, this coverage applies
as primary coverage if the insured‘sustains
bodily injury while occupying a vehicle
loaned to the-first person named in the decla-'
rations. his or her spouse or their relative by
a legally licensed automobile dealer:

(I) as a replacement for your car while it is
out of use due to its brealcdot.vn,l repair or
servicing;'or

(2) for use as a demonstrator vehiclc.

3. Subject to items l and 2 above, if this policy and
one or more other policies provide coverage for
bodily' rnjury:

a. on a primary basis, we are liable only fo_r our
sharc. Our share is that percent of the dam-
ages payable on a primary basis that the limit
of liability of-this policy bears to the total of
all applicable underinsured motor vehicle
coverage provided on a primary basis.

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I'he total damages payable froin all pblicies
that apply on a primary basis shall not exceed

' `the limit o_f liability of the single policy pro-
.ivi'diog the highest limit of liability on a pri-

mary basis.

l
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-`the amount by which the limit of liability of

the single policy providing the highest iimit

- of liability on an excess basis exceeds the

limit of l1ab1l1ty of the single policy providing

l
l
l
l
5
1

the highest limit of liability on a primary
. .. basis. .

"`b. on a'n excess basis_, we are liable'only for ci'ur

share_ Otu' share 15 thin percent of the 'da_m.‘ Il` Tl.'lel."e IS ther Unlnsl.lred M`dfol' vehicle

- _ ages payable on an excess basis that the limit Property Damage Coverage _
: ‘ of liability of this policy bear`s to the total of
‘ ' '_ all applicable underinsured motor vehicle If Ol.hGI`Slmllaf CQVCl.'EgB applies foprop¢l'{y damag€,
we will pay our 'sha`rc. Our share 1s that percth of '

the damages that the limit of liability of tins co\_'er'age
Tbe total damages payable frbm all policies bears to the total of all such similar coverage thai
' that apply on an excess basis shall not exceed applies -to the accident. - ' " . - '~

' '.'.

` ' cpirerage provided `oi'i air _exc'es`s basis_.

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Loss- -means, when used rn this section, each direct
and accidental loss of or damage to: '

_ l..-.yorir.c¢lr;

2._ its equipment which rs common to the use of
. _-_; your car as a vehicle; or

' 532 " clothes and luggage insured; and

4.__ a detachable living quarters attached or re-

moved from yourcrrr for storage Detach_a_ble

. living quarters includes its body and items

securer Exed' tn place as a 'peiman_ent part of

the body. You must have told us about the

living quarters before the loss and. paid any
extra premium needed. '

COMPREHENSIVE - COVERAGE D. You
have this coverage if "D" appears in the “Coverages“
space on the declarations page- if a deductible ap-
plies the amount is shown by the number beside “D".

_Loss to _Your. Car. We will pay for loss to

.- your ear EXCE.FI` LOSS BY COLUSION

` but only for the amount of each such loss m

excess of the deductible amount if any l.fwe

. offer to pay for the repair of damaged wind-

shield glass instead of the replacement of the

:'_-_ windshielde you agree to have such repair

--rr_tade, we will pay the' full cost ot`repairing

the windshield glass regardless of your de-
duct_ible_.

Breakage o_f. glass. errors caused b'y missiles

'. _ _fall_i_ng_ pbje`ct_s, fii"e, theft larceny. explosion,

' earthquake. windsto'rm, hail, water. flood,

malicious mischief or vandalism. riot oi' civil

commotion, is payable~under- this coverage

loss d_1._1e to hitting or being hit by abird orarr
animal rs_ payable under this coverage.

2. We will repay you for transportation costs if
. . your car_ is stolen._ -We will pay up to 3163-pti
` `, day for the period that begins 48 hours
_. you tell u's of the theft 'Ihe period ends when
_ ""_ w_e offe`r to .pay for los.r.

COLl_.ISION- COVERAGE G. You have this
coverage if “G" appears in the “Coverages" space on
“ihc declarations page. 'I`he- deductible amount is
'showit b`y the number beside "G”.

We will pay for loss to your car caused by collision
but only for the amount of each such loss tn excess

_of- _th_e deductible amount lf we_ offer t'_o pay for the
repair of damaged windshield glass instead of the
replacement of the windshield 'and 1`1 agree to have

such repair made. we will pay the gill cost of repair-
ing the windshield glass regardless of- .yout' deduct-
ible. lf the collr’sr'on' 1_s _wi_th another motor vehicle
insured with us, you do riot pay your deductible ii" rt
is 3100 or less as we pay it._' _

Collr'.ri'on- means your car upset or hit or was hit by
a vehicle or other objects ' .

Clothes and Luggage -- Comprehenslve and Col-
llslon Cover'_'agm

We will pay for loss to clothes and luggage owned hy
the first person named` rn the declarations. his or her
spouse, and their relatives 'I`hese items have to be rn
or on your ear. Your car has tohecovei'ed under this
policy for. .

\.

l. Comprehensive, and the loss caused by _t'ric,
lighming. flood,' falling objec_t.s.` éxp_losio_n.
earthquake or theft. lf the loss rs due to theft.
YDUR EN'I'IRE CAR MUS'l` HA'VE BEEN

, STOLEN;` or

2 Collision, and the loss caused by_ ehllr`sr_or__i_.

Wc will pay up to $200 for loss to' clothes and luggage
in excess of any deductible amount shown _for com-
prehensive or collision. $200`15 the most we will pay
in any one occurrence even though more than~o`r`\e
person has a lor.r. 'I`his coverage 1_s excess over any
other coverage.

‘ ..,

Limit ofl_.iability-- Compreheodve a_nr_l_ Colli.sioii
Cov`erags_ z

"I`he liiiiit of' our liability for loss to property or any
part of rt is thc lower of.‘

1. the actual cash value; or - ' '
" 2. "the cost of repair or replacement

Actual cash value rs determined by the marlcet value,
'ag`e and condition at the time the loss occurred Any
deductible amount that appliesis then subtracted

'I'he cost of repair or replacement' rs based upon one
of the following:

l. the cost of repair or replacement agreed upon
by you and us;

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2. a competitive,bid approved by us; or

3. an estimate written based upon the prevailing
competitive price. The prevailing competi-
tive price means _pric_es charged by a majority
o`f the repair market in the area where t.he` car

,1s to' be_ repaired as determined by a survey

' made by us. If you `,aslt w`e_ will identify some
facilities that will oriri- the repairs at the
prevailing competitive price We will in~
elude in the estimate parts `sufiicient to restore
the vehicle to its pre-loss condition. You
agree with us that such parts may include
either parts furnished by the vehicle' s manu-
facturer or parts from other sources including

` non- -original equipment manufacturers

Any deductible amount that applies is then sub-
tracted.

IN THE REPAIR OF YOUR COVERED MO-
TOR VEHICLE UNDER THE PHYSICAL
DAMAGE COVERAGE PROVISIONS OF
'I_`HISPOLICY, _WEMAY REQUIREOR SPIT-
IFY TH.‘E USE OF_ MO'I`OR VEHICLE PARTS
NOT- MADE BY THE ORIGINAL MANUFAC-
T.URER. THESE PARTS ARE REQU[RED TO
BE AT LEAST EQUAL lN TERMS. OF FIT,
QUALITY.. PER.FORMANCE .AND WAR-
RANTY TO THE ORIGINAL MANUFAC-
'1_`UR.ER PARTS THEY REPLACE. ' ‘~

Settlemeni of Loss - Comprehensive nnd_ Colli-
s_ion Covcragas..

We have the right to settle a loss with you or the
owner of the property in one of the following ways:

l. pay up to the actual cash value of the property
at the time of the loss. lf the owner keeps the
damaged propert_y, we will deduct its value
after the loss from our payment;_ _. _ . .

2. pay to:
a. repair the damaged property or part or
b. replace the property or part.

. , If the repair or replacement results in the
vehicle being heuer than irs p_re-loss- condi-
tion, we have the right to require you to pay

‘for the amount of ihe betterment;

3. return the stolen property and pay for any
‘ ' damage duetothetheft; _or .

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; 4.-. pay the agreed upon value of the property at
the time of the loss in exchange for the
damaged property. Thc damaged property
cannot be abandoned to us._ . .

The Settlement of I.oss provision for comprehensive
and collision coverages incorporates the Limit of
Liability provision of_ those coverages ,

lf we can pay the loss under either comprehensive or
collision, we will pay under the coverage where you
collect the most

When there" is loss to your car clothes ahd luggage
in _t_he same occurrence. any deductible will be ap-
plied first to the loss to yourcar You pa'y only one
deductible. . _ .

EMERGENC-Y ROAD SERVICE _ COVEB-
AGE H. You have this coverage if “H'-' appears in
die_“Coverages" space on the declarations page.

We will pay the fair cost you incur `for your car for:‘

1. mechanical labor up to one hour at the_ place
of its breakdown;

2._ towing to the riearest pla_ce where the neces-
sary repairs can _be made during regiilar busi-
ness hours if' it will not run;

'3. towing‘it out if it is stuclt_on or immediately
next to a public highway;

4. '_d¢ii+e¢y 01 gas. eii,-barrery. er tire we 110
_ Nor PAY r=oR THE cosT or= THE GAs,
~ 01L. BATI'ERY 011 'riRE. ‘ '-

CAR RENTAL AND TRAVEL EXPENSES -
COVERAGE Rl. Yo`u have this coverage if “Rl"
appears in the "Covcrages" space on the declarations
Pag'~‘-- .

..-l, Car Rcoial Eirperise. We will:

a. pay you up to $16 of the daily rental
charge when you rent a ear from a car
rental agency or garage; or -

b. `pay you 510 for each'completc.f£¢l» hour

_ period that your car is not drivable if you

choose to not rent acar. You must report

to us the period of time that your car was-
not drivable..

We' will pay only if your car is not drivable
because of a loss which would be payable
under coverage D or G.

' j '_Thislapplies_during a period starting:'

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§-°4_6

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_ .a._; ._w_hen yourcor cannot run due to the r'oss; Total Amount of Expensur i’ayahle_ _ Coverage
or 1 Rl

-`=‘b;ef '.rf your car can run, when you leave rt at 1'
, \. _ __t_he_ shop. for agreed repairs;_ .

l _.' -

.The most we will pay for the total of theCar “
Rental Ex nse ”and “Rental Car- Repaym.ent
of Deductrble Amorrnt Expcnse" i_ncurred' rn any
one occurrence is 5400. r

The most we will pay for "I`ravel E_xpe`nses_"

` incurred by all persons in any one occurrence is
3400.

CAR RENTAL AN'D TRAVEL EXPEN_SE_S -'-
COVERAGE R2. You have `th`rs eovetage if “R2"
appears in the “Coverages" space_ orr the declarations

and ending:

a. when it has been repaired or replaced or 2-

..b. (1') when we offer to pay for the losr, if
your car is repairable or-

(2) Ev_e da`ys after we offer to pay for the
- -,~ loss, if_:

Pas= .
(a) ig'\j;;‘i_’o‘;"“ s‘°l°-“ ami f‘°‘, “"' _1. __Car Reniar` expose
a. We will:

(b) we declare it a total loss. "

(1) pay BO% of the rental charge when you
rent a car from a car rental agency or
garage "Rental. charge" means the daily

' rental rate plus charges for mileage and
related -ta_x_es; or

(2) pay you 510 _fo`r each complete 24` hour
- period that yourcar is __not drivable rf you
- choose to not rent a car. You must report
tro us. the period of time that your car was

not drivable. ;

' whichever comes tirst.

` Any_car rent payable under‘this coverage _is
REDUCED.TO THE EX'l`E.NT`lT IS PAY-
ABLE UNDER COMPREHENSIVE. .

2.'l Travel Ex'penses. Ifyou.r_'cor cannoti"un due
7 to alo.rs which would be tpayable i.rnder cov-
_ ‘1 erage D or G more than 5 miles from home.

- ~ we will repay you for expenses incurred by

yo"’ your spouse and any relative for` . We will pay only._ rf your ear is_ not drivable _

a_ Commercial transportation fares w con- wcause _of a loss which. would- be payable _

f 5 itinue to your- destination or horne '. under COV=NB¢ D OPG--.
. ':`_", _; 5 ilaan meals' and lodging needed when the b. Payment will be _made for a period that
»= 1 '- -_Iass to your car causes adelay enroute (1) m- y »-
j _-: -. . 'I`he expenses must be incurred between
d _ me amc of the bn and your .-an.ival m _(a) when your car is notdrivabledue to :_.
` .yo_ur_ destination or horne o_r by the end_ of the loss» or `

::r-. -thc mday, whichever occ:urs fur-st -'-'(b)- if your car is drivablc whcn_ you

leave` rt at the shop for agreed rcpairs;

 

l c. .Meals, lodging and commercial transpor-

tation,fares incurred by you or a person » . and . . . . .
_ you choose to drive your__ car from the , (2) cnds: ‘ . - - . ~ vi
, '._: §;:: o_f __r¢?ai[_ co y_‘mr dc.s.'inati?n or (a) when your car has been repaired or
* replaced:or "

.-`3 Rerrtal_ Car - Repuymen! of deductible
Amour:rt Expense. We. will repay the ex-
pense_ of_ any deductible amount y_ou are re-

(b) whenrwe- offer to pay for the losi, if
your ear is mpairable butyou_ choose

quired to pay the owner "uader comprehensive ‘ co delay mpairs’ or " " '1 ' "
_. ». or. collision coverage in effect on a substitute (c) five days after we offer to pay 'for the `
mr rented front a_ cat rental agency or garage. loss if:

21 _
ama

 

a

 

.... ..¢.,... ... . .

(i) your cor was stolen and not re-

covered; or

(ii) we declare that your car is a total
loss; -

whichever comes first.

Any car rent payable under this coverage is
REDUCED TO THE EXTE.N'I`- !'l` IS P_AY-

'ABLE UNDER COMPREHENSIVE.
, Travel Expenseu. lf your ear is not drivable due '-

10 a loss which occurs more than'SO miles_from-

_home and .which would be payable. under _cover-

age D or G, we will pay you for expenses incurred
by you, your spouse and any relative for:

a. commercial transportation fares to continue

_ to your destination or home;

-'.'.b extra meals and lodging needed whentheloss

2..

`to your ear causes a-'delay enroute.-` The ex-
penses must be incurred between the time,of
the loss and your-‘ arrival at your destination
or home or by the end of the fifth day. which-

, ever occurs lirst; and

c. mea]s; lodging -and commercial transportation

' fares incurred by you or aperson you choose to

drive your corfrom th'e place of repair to your
destination or home

_Rental Car - R'epayment of Deductlhle

Amo'unt Expense. We will pay the expense of
any deductible amount you are required to pay
the owner under comprehensive or collision cov-
erage in effect' on a substitute car rented from a
car rental agency or garage.

Total Amount of Expeosez Payable - Coverage

l.-

The most we'.will pay for “Car Rental-'E.rtpense"
incurred in any one occurrence is $500.

The most we will pay for "'I'ravel Expenses"
incurred by all persons in any one occurrence is

The most we will pay for g‘-Renta'l Car- Repay-

ment of Deductible Am_ount Expcnse" incurred

1n any one occurrence is $400._

Trailer Coverage .
Owned Trailer
Your trailer is covered:

1.

 

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a. when' 11 is described on the declarations page
of the policy; and

-.b. for the coverages shown as applying to it.

2. Noo-Owned Trai]er or Dctadialile leing
Quar_'ters ,

Any physical damage coverage in _for_ce on your
car applies to a non- -owne'd:

a_- tr'ailer, if it is designed for use with a private
passenger_ car, or ~

b. .detachable living quarters unit

used by the first person named' 11`1 the declara-
tions,_ his or her spouse or their relatives

The most we will pay under the comprehensive
or collision coverage for a-loss to such- non-
owned trailer or unit is $SOO.

A non-owned trailer or detachable living quarters
unit is one that.

a. is not owned by'orrcgistered'.in't_hename of:
(1) you, your spouse, any relative;

_ (2) any other person residing'_ i'n the same
household as you, your spouse o_r any
relor¢'ve;ot'

(3)` an employer of you,' your spouse or any
reh'm've;an ‘

b.-: has not been used or rented b_y _or in the
' possession ofyou,' your spouse 'or` any rela-
tive during any part of each of the last 21 or

- more consecutive days. lf you are insured by
one or more other car policies is_s'ued by us,
lthe 21 day limit' is increased by a'n additional

. 21 days for each such additional policy; and

c. vis not rented and 'used' 1n connection with the
employment or business of you, your spouse
or any relative - ~

Covera_ge for the Use ol' (_)lher Cat's

The coverages in this section you have on your ear
extend to a loss to anewa acquired cor, a temporary
substitute car or a non-owned car. These coverages
extend to arron-owned car while 11 is driven by or in
the custody of an insured. -. .- . 1

Insured- a`s used 111 this provision means:-_
l. the first person named' 111 the declarauons
2. his or her spouse; or . '

21_`
sure

 

 

 

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... -, ...
.»1~1.1-._.¢- -1

._ 4 TIR§ESunit*$S

" '-: 1 a -IF'I`HBDECLARATIONS S'I_`ATETHE

' “USE” OF YOUR CAR lS OTHER-
THAN PLEASU'RE AND.'BUSIN`ESS ;-

-‘ b. '.WH]LE BEING REPAIRED,-SERV-
' -ICED 'OR USED- BY ANY PERSON
" '--WHH..ETHATPERSON 18 WORKING

' IN ANY EAR BUSINESS; OR '

c. WHILE USED IN ANY O'I'l-IER BUSI-
NES_S OR- -O_CCUPA'_I'_ION. This does
not apply to a private assenger c_dr

. .driven or occupied by e iirst peisari
named in the declarations, his or her
spouse or their relatives

2. ANYVEHICLEWIHLE: . - -
a. REN'I`EDORLEASEDTOOTHERS

b. USED TO CARRY PERSONS FOR A
CHARGE_. 'Ihis does not apply to the use
on a share expense basis; _or '

¢. suBJE<`:T To ANY LraN, cease 011
sALEs AcRsEMI-:N'r No'r_ shown
1N ms nscLARAiioNs.

__ 3. LOSSTOAN'YVEHICLEDUETO:

a. TAKING BYANY GOV`E_RNMENTAL
AU'I'i~IORl'-I~'Y' ‘~

b. WAR OF ANY KIND;

.. c'.: 'AND LIMITED‘-' 'l`O W'EAR A'ND
TEAR, FREEZING, MECH`ANICAL
OR El,_.E_C`I_`RI_CAL BREAKDOWN_ OR
.’FAILURE. 'I'his dod not apply when the
- las.r_. isthe result.of a theft covered by this
- -.- policy Nor does it apply- -to emergency

t _ road service; OR_ `

'.{i.'-.- cONvERsioN-. EMB-EZZLE`MENT

OR SECR.ETION BY ANY' PERSON
_. .WHO H.A`S THE VEHIQLE_ DUE .TO

'AN"Y LlEN, RENTAL, LEASE OR

_-'»SALES: jAGREEMEN'I`. _ .: .

l
3. their relatives . -. . ' ' .- _ a. stolen, '0r.damaged by tire oi'va_ndalism;
When the Physlcal l)arnage Coverages Do Not- or ` '
APD\Y b. other loss covered by this section happens
THERE rs No covERAGE 1=011- al llla aal“° llla°
_ 5._ TAPES OR DISCS FOR RECORDING- OR
1 ANON OWNED CAR' ' REPRODUCD¢G soUND. ._ .

6_. ANY[ASERORRADARDETECI`OR __ '

If The_re ls Other_Coverage

23

l.

Poll`cles lssued'b_y Us to'Yotl

If two or more vehicle policies issued by us ioy'orr

_ apply to the same loss or occurrence, we ivill pay

under the policy with the highestlimit.
Coverage Availahle' From Ot:her Sourca--

_ '.Subj'ect to item l. if other coverage applies to _the__
~ loss or expenses, we will pay only our- share. Our
_sh_a.re' ts the per cent_ that the limit of liability of

this policy bears to_ the total of all coverage-. that
applies.

Tempo_rary Suhstitute Car, Non-Oivned Car
or Traller

' I_f a temporary substitute car, `a non-owned car

or trailer designed for use with" a private passen-
ge_r 1_:1.'.1' has other coverage on it,. then this cover-
age is excess. However. subject to items 1 and 2
above, this policy shall provide primary coverage
on a car:

a. operated by the insured; end

__ b. loaned to the insured by. a legally licensed

automobile dealer:

(1) as a replacement for your ear while it is
out of use due to its breekdown,- repair or
servicing, or

' (2) for use as a demonstrator vehicle.

'Newly Acqtrll'etl Car .
_',Ta`is _msuaA'NcE moss Noi‘ APPLY IF

THERE [S .SIMILAR. COVERAGE ON A
NEWLYACQUIRED CAR.

Nn BeneBt to Ballee.

'Ihese coverages shall not benefit any carrier or other
bailee for hire liable for los.r.-

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v_"'¢ ' y

` SECTION V-'- DEAT_H, DISIVIEMBERMENT AND LOSS OF SIGHT -'-
- - COVERAGE S A_ND TOTAL DISABILITY COVERAGE T

__._.... ._ ...._.._~‘ iv

 

DEATH, Dtle-:MBERMENT ANo Loss oF
stem - covenants s 1

You have this coverage if “S" appears in the “Cover-
ages" space on the declarations page. "S" with a
number beside` it is your coverage symbol.

Check your coverage symbol with the schedule for

the limits you have chosen.

We will pay the amount shown` m the schedule that
applies for death. or loss, caused by a motor vehicle

. accident The insured has` to be occupying or be

struck by a land motor vehicle or trailer. The death
or loss must be the direct result of the accident and

‘ not due to any other cause. Loss must be sustained

within 90 days of tiie` acc':ident.l 'Ihe death must occur
within one year of the accident If the "death occurs
within 24 hours after the accident.- we will pay only
the amount that applies to death.`

Insured- means;
l a.`y'ou;
b. your spouse;or
c'. -_any'rei¢_ztive;or
__2. any other person while:
_a. occupying

(1) your cur, a newly acquired car or a
temporary substitute car with your
permission; or

(2)' `a ' vehicle loaned to you" `or your
spouse by a legally licensed automo-
bil_e.deaier_for- use as a demonstrator
vehicle. The vehicle must be oper~
ated by you or your spouse

be not an occupant of. a self-propelled vehi-

" cle, other titan a. motorcycie, if he or she
is struck by your cor-, a newly acquired
car cr a temporary substitute car. 'Ihe
use must be by or within the scope of
consent cf you or- your spouse

Loss- -means the loss of:

l. the foot or hand, cut off through o'r above the
ankle or wtist_; or _ _ .- 4

2. the whole thumb o`r‘i'tit`ger;l or`

n

3. attaight. .. i;
The Most We Pny

The most we will pay because o'f the death of or loss
to.each insured, except as provided below, is shown
in the schedule for your coverage symbol

The amount shown' in the schedule for death cr loss
is doubled for an insured who, _ar=‘the:tirne of the
accident,"is using the vehicle"s complete restraint
system as'recommcndcd _by_ _th_e vehicle’s manufac-
turer.

 

 

SCHEDULE

Coverage Sy'f'mbol'__ '. " "S`I= `_ SZ
mata - - _. » ___,-j` ssm_o.,¥. .s io.ooo
L'oss of: ' " " `
hands; feet;sight ofeyes`;"`

one hand&one foot`; or - - __a . '

one hand or one foct&__ J,- ' _- ' ' :- `
sight of- one eye ' - '5.00_0; 'l0,000
one hand or one foot;or_ . ` .'.:_= ',"_.. `

sight of one eye _ _ _ ZFJ_SQO 5.000
thumb & linger on one _ ` `
hand; or three fingers ' ,1-,‘5_00 " . 3.000
any two_ fingers _ :. ~ l ,000 _ :_.-. _;2.000
Payment_ of Any Amou'nt Due '

We will pay any amount due:-.
l._ to the insured;
2. to a parent or guardian.if the insured is a
' minor or an incompetent person;' '
_‘ '3:.: `to the surviving husband or' wiie;_ or
4. at our option to any person oi' organization
authorized by law to receivesuch payment.

Any payment made' is to its extent a` complete dis-
charge `.of our obligations We are not responsible for
the way the money is used. -

'I_`O‘I`A_L D_ISABIL!'I'Y-'- CQYERAQE T

You have this coverage"ti?"l" appears in the “Cover-
ages" space on the declarations page... ".'[" with a
number beside it is your coverage symbol. Checlr.

.' M _ _ '_.

 

 

 

  
    
   
   
    
   
    
  
 
  
  
   
 
 
  
 
 
  
 
 
   

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your coverage symbol with the schedule for tiie limits `

you have chosen..

We will pay the insured weekly indean because
of his or her continuous total disubi'lity. The total
disability must r_e`_sul_t from _bodiiy` injury caused by
accident arising out of the use of a motor vehicle as
a vehiclc. . -

Income Producer-_ means a person who_, at the time
of tiie accidcnt, was receiving s_ala`.ry. wages,` tips.
commissions fees or other earnings from work or
employment .

Insurcd-means:
l. a. you;
b. yourspouse:or'
_ ._.c._ any rclati'_ve; or _
1 ._._2 any'otherperson,while: '
a. occupying:

_(l) your__. cur, a newly acquired cor or a
` temporuby substitute cor with your
permission, or

(2) Aa vehicle loaned to you~ or your
spouse by a legally licensed automo-
bi|e dealer for use as a demonstrator

' vehicle Tl_ie vehicle must be oper-
atcd by you or your spouse

` '~= b."'itot an occupant of a self- -propelled vehi-
cle, other than a i:n_otor_cyclc. if he or she
is struck by your `cor. ancwly acquired
car or 'a temporary substitute cur. The
use must be by or within the` scope of
consent of you or your spouse.

Total Disobility-» -means any disability that continu-
ously keeps the insured from doing any and every
duty that pertains to his or her occupation.

Weelrly Indemnity -¥ means, if the insured' is:
l. an income producer, the lower of:

a. 70% of the loss of salaiy. wages, tips,
.commissions, fees and other earnings
from work or employment; or

b. the weekly amount shown in the sched-
ule.

2. not an income producer, no more titan 570
per week or pro-rata for a part of a week for

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reasonable expenses incurred for-- needed
services that would have been:

‘ . 'a. performed by the insured except for the
inj“lYi

' :'c;_. .:doite without pay.

Weelily. indcmnity. must be incurred while the
insured` is alive.

Weekly indemnity,"when payable`; begiiis iii'ght days

after the date of the accident. lt ends on the earliest

of:_ ..

l tile insured’s death;' __

2. , when_ we have paid for the time period shown
_ for your coverage symbol;

3. when an income producer is again able to_
. engage in gainful activity; or _ _-

4. when an- insured ..who isnot an: income pro-
ducer is again able to perform the needed
services .

Llntl_ts of L_i_ab_ilit`y

'Ihe most we will pay an insured fdr weekly indem-
nity and the period of time we will' pay it are shown
in the.schedule‘ for your coverage symbol;.j '.‘

SCHEDULE

 

Coverage Symbol . Tl ‘I`l '1`3

 

?.5
8046

Weekly amount if insured is:
a. anincomc producer $l40 $250 3500
$70 $ 70 $ 70

5_2 104 104

b. not an income producer
Peiiod of Tinie - in weeks
Payment of Any Arnount Due
Payments will be made on a monthly basis within 30

days after we have proof of continued total disability
and the amount due.

 

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,_,._...~*-- ...-_.. .

., ‘,,.,,_,_¢~..¢¥.s-. ...

 

II There -ls' Other Total Dlsahlllty CP“__'\____-g_e__ ._;. __

lfother. vehicle total disability coverage lsstied by us

or= `any¢ other insurer-- applies-_ to you, _.your s_po_use_ or
any relative:

_ l. the total l_irr`tit shall n_ot exceed _thc highest _ ,

' """ limit of liability of a'n_y_ '_01_1¢ Pt'-_'ll_€¥» and

_ _ 2. we arc liable only for our share of the amount

' pay_able. Our share.' rs that per ccnt: that thc
limit of liability ol` this policy bears to the sum
of a_ll- vehicle total disability coverages that
aPP Y-

WheirCoverage '-I_` Doe_c N_ot App_ly'_
'l-`l-IIS COVERAGE D_OES NQT APPl_;Y TO-:'

l." A'N 'INSURED Wl‘lll..E ON THE IOB, OP-
ERA'I'ING. OCCUPYING_,_ LOADING- OR
_Ul\_ll,._OADll'~lG'-

' ' a. nNEM_E`nGENcy vE_H_I_CLE; oa-

b. A VEHICLE lJSED lN THE IN-
..SURED’S BUSINESS OR JOB.-

But 1 .b does no`t apply if thel vehicle is:

(l) a private passenger car or school
';bus; ;-.or ' .

v(2) of the pickup or van type, with a

~ Gross Vchicle Weight _-of 1_0 000

pounds or less,_ while _not_ used f_or
._deli_vc_ry._..

;, 2 cousin swann on mss ro on ro-

rA'r_.- brsiarnm' on 1111 rrvsoriao ours

.. or=__iiiE_r.Aw.

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l
' " a. 'DlSEASE except pus forming infection
due to bodily irriury__ reoeivcd" m the acci_-.
,_,_dent: or -

b'. SlllClDE OR A'l'_l'EMl’l"ED _SUICIDE_
Wl-lll_.E-_ S_A_NE_ OR_ IN_S_ANE; C__)R_ " '

c. WAR OF ANY KIND.
When _Covcnige_~i_ S and T Do Noc Apply

'I'l'[E"SE COVERAGES DO NO'I`- APPL_Y TO B_OD-'
ILY IN]URY OR LOSS '['O OR TOTAL DISABlL-_"
ITY OF_ AN _INSURED:

1. WllOIS: . .,
a. A NAMED H\l_S_URED, OR"'

-..b RF_.I_'.-ATED BY BLOOD_, MARRIAGE
OR ADOPTI_ON 'IO_ AND A RESI-
DENT lN' THE HOUSEHOLD OF A
NAMED INSURED, ' `

'UNDER ANOTHERPOLICY PROVlDING

`-VEHICLE DEATH, DISMEMBERMENT
AND LOSS OF SIGHT OR TOTAL DIS-
AB[LITY COVER'AGE 'I'his does not apply
-to you, your spouse_or- any relo!ive.

32. _c`AUsiNG IN`J_URY lro._ _ii'rivrsrsi.r= 0R
iransz mr_iz.mioNALr_Y;

3. -WHILE COMMI'I'I'ING. _A FEL_.ONY; OR

f,'_ '_ lt.._`waii_n` rava `:'ro A`vo_ib i.Awi=uL
_~:.sa_izun'r-: on An_n_es_'r ar 1111 c_)r-'i=icaa

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" F'__. dugan -.' I!¢.`?- ,. ._ . o ~' ..., so

 

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-~ coNorrioNs

1_._l"ol_icbear_1g_es n

Policy Terms. The terms of this policy may_

`?be changed or waived only by:

(l) tin-endorsement signed by one of our e11'-
ecutive ofticers; or

(2) the revision of this policy form to give

_ broader coverage without an extra
` charge If any coverage .yort carry is

` ch'aii`g_ed to give broader coveragel we
` will giveyoir the broader coverage with-

" , out the issuance of a new policy as of the
_ date we make the change effective

" Cliange ofInterest. No change of interest in
-this policy` rs effective unless we consent in

._ '_writing. However, if you die, we will protect

_as named insured:
_(_1) your surviving spouse',

(2) any person with propcr' custody of your
car, a nerva acquired car or a temporary

=_ . substitute car until a- legal representative
is qualified; and then

(3) the legal representative while acting
within the scope` of his or her duties.

. Policy notice requirements-are met by mail-

ing the notice 10 the deceased named in-
sured's last known address.

." Consent` of Beneticiary. Conscnt of the

beneficiary under dcath, dismemberment and
loss 01` sight coverage is not needed to cancel

- . or change the policy.
'_1'1.?'

Joint and _Individual l_nterrs|s. When there

_ are two o_r more named insureds,_ each acts for

all to cancel or change the policy.

2. Suit Agaiust Us

'[`l‘tere is no right of action against us, '

..-',B

b.

until all the terms of this policy have been
met;- -and-

under the liability coverage, until the amount of
damages an insured 15 legally liable to _.pay has

‘ been Eri_ally determide by:

(l) judgment al'ter actual trial and appeal if
_ :-a.ny; Or : ' .

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(2) agreement between ~the insured, the
`claimant and us.

~ z B_anlcru'ptcy or insolvency of the insured or

his- or- h_er estate shall not_ relieve us of our
obligations

under uninsured motor vehicle, underinsured
motor vehicle, medical payments, any physi-
cal damage, death, dismemberment and loss
of sight and total disability coverages, until
30 days after we get the_ insured’s notice of
accident or loss.

,_.

3.0_1.11' R_iglit to Recove_r Our" Payments ~ n

&.

._b.

Death-, dismemberment and loss of sight cov-
erage payments are not recoverable by_-us.

:Un_der medical payments. uninsured motor`
-_ve,hicle',. uninsured motor vehicle property

l _ _ damage and total disability coveragcs:
` -__(1) we are subrogated to the extent of our

8046

payments to the proceeds of any settle-
ment t-he injured person recovers from
any- party liable for the _bodr'ly injury or
property damage - _

' (2) if the person to or for whom we have

made payment has notrecoyered from the
"party at fault, he or she shall:

(a) keep these rights 111 trust fo`r us;

' (b) execute any legal papers we need;
an rid

" (c) when we-aslr., ialce action through our
representative to recover our pay-
ments. .

The costs of collection will be shared' in

tlie proportion we and the person to or for

whom we have made payment benefit
` from the recovery:_

Under underinsured motor vehicle coverage:

(l)_ we_are subrogated to the amount we pay;
and _ _ ._ .

(2) we .are_entitled to an assignment;'in the
amount of our_ payment, of any judgment
obtained by the injured person against the

_ party liable for the bodily t'njury; and

(3) the injured persah`shaiiz

 

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. ..‘,_ --.»..

(a) execute any legal papers we` need;". 'r '

and _ _
'(b) help us get our money back.` °
unless we have waived our subrogation rights

" according to the provision titled "I`entative
Agrecmentto Settle~ CoverageW." `

cl. Under all_ other coverages the right of recov-
'_-- -eiy of any party we pay passes to us, _Such
' . _ party shall:
__ _(1)_ not hurt our rights to recover, and
_ (2) help us get our money baclt;

` e. We have the right to recover our-payments only
if the uuured’s total recovery exceeds the total
amount of his or. _her incurred darnages.'

4. Caneellltlon 1 '

How You May Cancel.` You lmay cancel your
:policy by notifying us in writing of the date to
cancel, which must be late'r" than the date you mail
or deliver 11 to us, We .may waive these require-
_ment_s by continuing the date and time of cancella-
tion to you in writing'.-._

How and When We M_ay Caneel-` We may
cancel your policy by written notice, mailed or
delivered to your last known address.- The notice
shall give the date cancellation is effective Ir
will be mailed or deliveredl to you at least:

a. lO days before the cancellation effective date
if the cancellation` rs because you did not pay
the premium; or ' ‘

b. 20 days before thecancellarion effective date
" - ..if the cancellation is_` because of any other
reason.

The mailing of it shall be sufficient proof of
.notice. -`

U`nless we mail or deliver a notice of cancellation
' to you within 59 days of the policy effective date
we will not cancel your policy before thc end of the
current policy period unless:

. a- you fail to pay the premium when due‘- or

b. you, your spouse. any relative or any other
person who usually drives your car has had
v »-his or her driver' slicense under suspension or
' revocation during the policy period. or if the
. policy rs renewcd, during the current policy
§eried or the 180 days just before its effective

are

_. Rene_wal

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l .
Ret.urn of Unenmed Premium. Ifyou canccl,
premium may be earned on a short _r_ate basis. lf
we cancel. premium will bc earned on a pro- -i'ata-

_ basis. Any unearned premium may be returned

at thc time we cancel .or within a reasonable time
thereafter. Delay` rn the return of unearned pre-
miumdoes not affect the cancellation

. '._

Unless we mail or deliver to _yo_u a notice of
' cancellation or a notice of our intention not to

renew the policy, we agree`_' to renew the policy
for the next policy period upon you_r_' payment of

-" the renewal premium when due. It' rs agreed that

the renewal premium will be based upon the rates

~ : in effect the coverages carried, the applicable
~ limits of liability, deductibles and other clements
.that affect the premium that apply attire time of

renewal

Other elements that may affect your premium

.. i_ncludc. but are not limited to:

-e. .dri_vcrs of your car and their ages and marital

status;

- b. _'your coe and its use_; ._..

-.c.. eligibility for discounts or p`ther premium

credits;_

.a~

d. applicability of a- surcharge based either

_ on accident history,. or o_n. other- factors
A notice of our intention to .not renew will be
mailed or delivered to your last known address at
least 30 days before the end of th'e current policy

of notice

' »pe_riod. `The mailing of' rt_ shall bc sufficient proof

. Premium

The premium for this `p_olicy may-vary based upon
the purchase of other insurance from- one of the

_ State Fanrl affiliated _comp_anies.

The premium for this policy rs based on information
State Farm has received from you or other sources.

' If the-.infonnariorr is‘ incorrect o'r incomplete or

changes during the policy period. you must inform
State Farm of any changes regarding the following:_

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:-17 -C\/- -06025- SOH Document 3

a. your ccr, or its use. including annual mileage;

b. the person who regularly drive your enr, in-
cluding newly licensed family members',

c. your marital status; or

d. the location where your car is principally
garaged.

You agree that if this information or any other
information used to determine the premium is
incorrect or incomplete, or changes timing the
policy period. we may decrease or increase the
premium during the policy period based upon
the corrected completed or c_hang_ed information
You agree that if the premit.n'n is decreased or
increased during the policy period, State Farm

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will refund or credit t`o you any decrease in pre-
mium and you will pay for 'any increase in pre-
mtum. .

Cooeealment or Fraod

`There is no coverage 'under this policy if you or

any other person insured under this policy-has
made falsestatements with the intent to conceal
or misrepresent any material fact or circum-
stance in connection with any claim under this
policy.

Particlpating Policy

Yor'r are entitled to participate in a distribution of
the earnings of the company as determined by our
Board of Directors' tn accordance with the com-
pany’s Articles of-Incorporation as arnended.

ln Witness Whe`reof._ the State Farm Fire and Casualty Company has caused this policy to be signed by its
Prcsi_dent and Secretary_ at Bloomington, Illinois.

"7¢¢1 941 .751“¢4\¢1/ C.¢&no.»&§?m\.?r

SECRETARY PRESI_DEN'I`

     

.-'Z.»»lL...-_.'.»\»m..-..._. . .. ... ....

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A' " ATTORN cv s

W""'N“M C°SS'°' 8114 CanueuRoad.suiw 100
mm Lirue.Rock, AR m

M ‘ Telephone: (501)5-1500

‘m»¢;mi.'mm“m"" ,'W”"‘m; ' Faesimtte. (501)255-1116

ment-ammar mcw.halcook.com

February 7, 2017

VIA U.S. MAIL

Ms. Jeannie Pike

Garland` County Circuit Clerk

501 Ouachita, Room 207
Hot Springs, AR 71901
Telephone: (50'1) 622-3630
Fa.csimile: (501) 609-.9043

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Page|D #: 135

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Cnss MANAGEM£NT
S.uut E.. DrctcsoN
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leEs'rtGATOR
Sccrn' R. SrttmcaLs

RE: Tyrone Davis, er al. v. State Fan_n Firend a ndCasuaI Com nyF
Garland County Circuit Court Case No. U2-' -'ZQ!"' /9£0

Dear Clerk':-

Enclosed for filing please lind the original plus two copies of Plaintiff’s Original Cot'nplaint,
Civil Cove`rsheet, and Summons, along with a check m the amount of 3165. 00 for the filing fee.
Afier everything has been iiled, please return the file-marked copies back to my ofiice 111 the

enclosed envelope.

If you have any questions or concerns, please do not hesitate to contact me. l appreciate your

assistance with this matter.

Bcst regards,
COOK LAW FIRM, P.A.

111 wit

Whitney M. Cossio
Attorney at'Law

 

Enclosut'e(s)

 

Whitney M. Cossio | DirectLir1e:(501)255-1500 ext. 2131 whitn¢_a}@attomeyhalcook.com

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IN THE CIRCUIT.COURT OF GARLAND 'COUN'I'Y, ARKANSAS
CIVIL DIVISION l

1
SUM]VIONS

caseNo. €l/'/V»/¢ZZZ_

PLAIN'I'IFF($): TYRONE DAvl_s, mDNmUALLY AND As".PARENT AND
NATuRAL GUARDIAN 0F JALlssA DAvIs_; ELNORA
nAvIs, moIVmUALLY AND As PARENT ANo
NATURAL GUARI_)IAN oF ALzERIA DAVI_S; and
JUMlLYAH mcHELL

 

DEFENDANT: STATE FARM FIRE AND CASUALTY COMPANY

PLA_lN'l`IFF’S A"I"I`ORNEYS: Hat"ol_d F. Cook & Wltimey M. Cossio,
COOK LAW FlRM, P.A.,
31 14 _Cal_ltl'ell ROad-, _Stlite 100
Litle-Rock, AR 72227

DEFENDANT’S ADDRESS: State Farm Fire and Casualty Cotnpany
via registered agent - C`orporation ServieeConipany
300 Spring Buildin`g, Suite 900
300 S. Spring Sueet
Little Roclc, AR 72201

THE STATE OF ARKANSAS TO DEFENDANT(S): State Farm Fire and Casualty
Company via register agent - Corporation Service Company

NOTICE

l. You are hereby notiiied.that a lawsuit has been filed against you; the relief asked is
stated in the attached complaint
2. The attached complaint will be considered admitted by you and a judgment by default
may be entered against you for the relief asked' 111 the complaint unless you tile a
pleading and thereafter appear and present your defense Yonr pleading or answer
must meet the following requirements:
A. lt must be' 111 writing, and otherwise comply with the Arkansas Rules of Civil
Procedure.
B. lt must be filed in the court clerk’s oflice within thirty (30) days after service of
this summons on you (not counting the day you received it) or sixty (60) days if

_ . _ ._... l -
Case 6:17-cv-06025-SOH Document 3 Filed 03/13/17 Page 41 of 41 Page|D #: 137

you are incarcerated in any jail, penitentiary, or other correction facility in
Arkansas. 1
3. if you desire to be represented by an attorney you should immediately contact
your attorney so that an answer can be filed for you within the time allowed.

Additional notices:

 
  
 
   
 
  

Wl'INESS my hand and the seal of the court this date

Address of Clerlt's ofl'tce: Ms. Jeannie_ Pike
Garland County Circuit Court
501 Ouachita Avenue,.Room 207
Hot Springs, AR 71901
Telephone: (501) 622-3630
Facsimile: (501) 609-9043

MMM 7/€'0/ s

RETURN

 

 

STATE OF ARKANSAS, COUNTY OF

011 this day of . 20 at o'clock .M.,
l have duly served the within summons by delivering a copy thereof (or stating the
substance thereot`), together with a copy of the complaint, to such petson being:

CHECK APPLICABLE SQUARE:
the person named therein as defendant

|_ a member ofthe defendant’s family above 14 years of age at defendant’s usual place
of abode, namely

 

c the duly designated agent for service of process for the defendant, namely _

 

O'I'l-[ER

 

SHERIFF

 

By:

 

Deputy SheriEf`

